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                    EXHIBIT 5
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                                 STANDARD FORM

                  APPLEBEE'S NEIGHBORHOOD GRILL & BAR

                          FRANCHISE AGREEMENT




                            3404 Rainbow Boulevard
                              Kansas City, Kansas



                            Apple Central KC, LLC


                                   July 23, 2015




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                                           SUMMARY PAGES


 1.        Addresses for Notices:

           Franchisor:      Applebee's Franchisor LLC
                            8140 Ward Parkway
                            Kansas City, Missouri 64114
                            Attn: General Counsel
                            Telephone Number: (913) 890-0100
                            Fax Number: (913) 890-9100

           Franchisee:      Apple Central KC, LLC
                            9 Greenwich Office Park, 2"' Floor
                            Greenwich, CT 06831
                            Attn. : Mr. William J. Georgas and Mr. Trevor Ganshaw
                            Telephone Number: (203) 992-1717
                            Fax Number: (203) 661-9462

2.         Commencement         Date: July 23, 2015

3.         Delivery Date of Franchise Disclosure Document:         April   2, 2015

4.         Development  Agreement: The Development         Agreement        between Franchisor and
           Franchisee dated July 23, 2015

5.         Effective Date: July 23, 2015

6.         Governing Law and Jurisdiction: State of Kansas and Federal Courts of the
           State of Kansas (Johnson County)

7.         Initial   Franchise Fee: See Refranchising   Addendum

8.         Insurance:     See Section 16
9.         Internet/World Wide Web: Franchisee has no right, license or authority to use
           any of the Marks on or in connection with the Internet, except as stated in and
           permitted by Section 18.5.

10.        Interference with Employment Relations: If Franchisee seeks to employ a person
           employed by another franchisee or Franchisor in a managerial position presently
           or during the past 6 months without written consent of the employer, Franchisee
           must pay 3 times the annual salary plus reimbursement of costs to employer.

11.        Local Ad Expenditure:             of each calendar month's Gross Sales

12.        Monthly Advertising    Fee:


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13.        Ownership    Interests   in Franchisee   are owned by:

                     Name                                       Percentage

            American Franchise Capital III, LLC                 100'/o

As of the date of this Agreement,           American Franchise Capital III, LLC is owned as
follows:

                     Name                                       Percentage

           WJG Capital Investments III, LLC                     50'/o
           Ganshaw Investments    I, LLC
                                      I I                       50'/o

           William  J. Georgas owns 100'/o of the Membership Interests of WJG Capital
           Investments III, LLC, and Trevor Ganshaw owns 100'/o of the Membership
           Interests of Ganshaw Investments III, LLC

14.        Principal Shareholder(s): American Franchise Capital III, LLC, a Delaware limited
           liability company, WJG Capital Investments III, LLC, a Delaware limited liability
           company, Ganshaw Investments III, LLC, a Delaware limited liability company,
           William J. Georgas and Trevor Ganshaw

15.        Renewal:  Four 5-year terms          of the then-current Franchise Fee for each
           renewal  period.  Franchisee    must notify Franchisor    7-12 months before
           agreement expires if wish to renew.

16.        Restaurant Location:      3404 Rainbow Boulevard, Kansas City, Kansas

17.        Restricted Area: The lesser of (a) a three (3) mile radius of the Restaurant within
           an international border or (b) a radius from the Restaurant that includes either a
           daytime or residential population of forty thousand (40, 000) or more people.

18.        Royalty Rate:        through January 1, 2020

19.        Term: The period commencing on the Effective Date and ending 20 years from
           the Commencement Date, subject to earlier termination in accordance with the
           terms of this Franchise Agreement

20.        Training: N/A

21.        Transfer Fee:             for this Franchise Agreement

The Summary Pages are provided for information purposes only and to the extent the
Summary Pages conflict with the terms of the Franchise Agreement, the terms of the
Franchise Agreement will control.




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                    APPLEBEE'S NEIGHBORHOOD GRILL & BAR
                               FRANCHISE AGREEMENT

        This Agreement is made this 23"' day of July, 2015, by and between Applebee's
Franchisor LLC, a Delaware limited liability company ("Franchisor" ), Apple Central KC,
LLC, a Kansas limited liability company ("Franchisee" ) and American Franchise Capital
III, LLC, a Delaware limited liability company, WJG Capital Investments      III, LLC, a
Delaware limited liability company, Ganshaw Investments III, LLC, a Delaware limited
liability company, William J. Georgas and Trevor Ganshaw (collectively, the "Principal
Shareholders" and, individually, a "Principal Shareholder" ).

                                      WITNESSETH:

                                        RECITALS

      A.   Franchisor owns the rights to develop and operate a unique system of
restaurants which specialize in the sale of high quality, moderately priced food and
alcoholic beverages in an attractive, casual setting. Franchisor owns the service mark
Applebee's Neighborhood Grill & Bar and variations of such mark, and other names,
service marks and trademarks which may be adopted for use in the future (the "Marks" ),
designs, decor and color schemes for restaurant              premises, signs, equipment,
procedures and formulae for preparing food and beverage products, specifications for
certain food and beverage products, inventory methods, operating methods, financial
control concepts, training facilities and teaching techniques ("the System" ). Franchisor
has the right to offer franchises for the use of the Marks and the System.

       B.   Franchisor established, through its own development and operation, and
through   the granting of franchises, a chain of Applebee's Neighborhood Grill & Bar
restaurants which are distinctive; which are similar in appearance, design and decor;
and which are uniform in operation and product consistency.

      C.    The value of the Marks used in the System is based upon:                (1) the
maintenance of uniform high quality standards in connection with the preparation and
sale of Franchisor-approved      food and beverage products, (2) the uniform high
standards of appearance of the individual restaurant units in the System, (3) the use of
distinctive  trademarks,  service marks, building      designs and advertising       signs
representing a uniformly high quality of product and services, and (4) the assumption by
Franchisor and its franchisees of the obligation to maintain and enhance the goodwill
and public acceptance of the System (and of the Marks) by strict adherence to the high
standards required by Franchisor.

     D. Franchisor, Franchisee and the Principal Shareholders have entered into a
Development Agreement dated July 23, 2015 ("Development Agreement"           ),
                                                                            relating to
the development by Franchisee of Applebee's Neighborhood Grill & Bar restaurants.

      E.  Franchisee desires to use the System     in connection with the operation of an
Applebee's Neighborhood Grill & Bar restaurant      at the location which is specified in

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Subsection 1.1 of this Agreement,         pursuant   to the terms, conditions     and provisions
hereinafter set forth.

NOW, THEREFORE, in consideration             of the mutual   obligations   contained   herein,   it   is
hereby agreed as follows:

1.     FRANCHISE GRANT AND TERM

       1.1 Franchisor grants Franchisee, for the term stated below, the right, license and
privilege:

            (a) to use the System incident to the operation of an Applebee's
       Neighborhood Grille Bar restaurant at 3404 Rainbow Boulevard, Kansas City,
       Kansas (the "Restaurant" );

            (b) to use the Marks which Franchisor shall from time to time designate as
       part of the System, but only in connection with the sale at the Restaurant of those
       products which Franchisor has designated and approved; and

             (c)   to hold itself out to the public as a Franchisee of Franchisor.

       1.2 The term of the franchise shall commence as of the Commencement Date, as
hereinafter defined, and shall end twenty (20) years thereafter, unless this Agreement is
terminated prior to that date in accordance with its provisions. "Commencement Date, "
as used herein, shall mean the date upon which the Restaurant opens for business.
The parties agree that Franchisor, without obtaining the signature of Franchisee, may
affix to this Agreement an addendum expressly setting forth the Commencement Date,
which, when so affixed, shall become a part of this Agreement.

       1.3   At the expiration   of the term         Franchisee shall have an option to
                                                hereof,
operate the Restaurant for four(4) successive terms of five (5) years (unless the
franchise agreement with respect to that additional term is sooner terminated in
accordance with its provisions), provided that immediately prior to each such five (5)
year term (a) Franchisee satisfies the requirements which Franchisor then-imposes on
its new franchisees, (b) all other restaurant units within the System which Franchisee
then-operates substantially comply, in the opinion of Franchisor, with Franchisor's then-
current standards, specifications, requirements     and instructions, and (c) Franchisee
executes the form of franchise agreement which Franchisor is then using with respect to
new restaurants within the System, with the amount of royalty and advertising fees
payable at the rates then-prevailing under the franchise agreements which Franchisor is
then using for new restaurants within the System, and Franchisee pays to Franchisor for
each of said five (5) year periods a franchise fee equal to                         of the
prevailing franchise fee paid by new franchisees at that time. Any franchise agreement
which Franchisee executes for such additional term will also contain options to obtain
an assignment of Franchisee's lease with a third party andior to purchase certain
property or to purchase or lease the Restaurant premises exercisable by Franchisor
upon termination thereof and an option to purchase or lease the Restaurant premises
exercisable by Franchisor upon expiration of the renewal term (subject to any
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then-existing   renewal   rights of Franchisee). Such options will contain provisions
substantially   similar to the provisions       of Franchisor's options     described    in
Subsection 19.4 hereof. Franchisee shall give Franchisor written notice of its desire to
exercise its option to operate the Restaurant for an additional term no earlier than
twelve (12) months, and no later than seven (7) months, prior to expiration of the initial
term. If Franchisee gives that notice, Franchisor, in its sole discretion, reasonably
exercised, shall determine        whether   Franchisee   has satisfied    the foregoing
requirements.    Within forty-five(45) days of receiving the notice described above,
Franchisor shall notify Franchisee in writing whether or not Franchisee is eligible to
exercise the option described in this Subsection.

       1.4  During the period from the date of this Agreement to the expiration or earlier
termination   of this Agreement, Franchisor shall not establish a restaurant unit utilizing
the System, or license another franchisee to establish a restaurant unit utilizing the
System, at any location within the lesser of a three (3) mile radius of the Restaurant or a
radius from the Restaurant which includes either a daytime or residential population of
forty thousand (40, 000) or more people; provided, however, the three (3) mile radius will
be reduced to the extent it would extend over an international border. Notwithstanding
the foregoing, Franchisor may establish a restaurant unit or may license a restaurant
unit to a third party within the geographic area set forth in the preceding sentence,
provided that (i) such restaurant is located within an airport (serviced by one or more
public or charter carrier), train station, bus terminal, port authority, campus at any
college, university or other post-secondary education institution, hospitals and other
health care facilities, arena, stadium, state or national park, or military fort, post or base,
travel plaza or casino, (ii) is located across an international border, or (iii) does not
utilize the System or utilize the Applebee's Neighborhood Grill & Bar service mark.

      1.5 Franchisee, in consideration of the benefits and privileges provided to it by
this Agreement, agrees to operate the Restaurant and perform as required hereunder
for the full term of this Agreement.

       1.6 This Agreement    is entered into pursuant to and subject to the terms         and
conditions which are set forth in the Development Agreement.

2.    UNIFORM STANDARDS

      2. 1 The System is a comprehensive    restaurant system for the retailing of certain
uniform   and quality food and beverage products (including alcoholic beverages),
emphasizing a varied menu of high quality, moderately priced food products (including
appetizers, creative sandwiches, dinner entrees and desserts), a selection of alcoholic
and other beverages, and prompt and courteous service in a clean, wholesome, casual
atmosphere. The foundation of the System is the establishment and maintenance of a
reputation among the public for the operation of high quality restaurant units. A
fundamental   requirement of the System, this Franchise Agreement and franchises
which Franchisor will grant to others is adherence by all franchisees to Franchisor's
standards and policies providing for the uniform operation of all restaurant units within
the System, including, but not limited to, (a) selling only those products which
Franchisor has designated and approved, (b) using only Franchisor's prescribed
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building  layout and designs, equipment, signs, interior and exterior decor items, fixtures
and furnishings,     (c) adhering strictly to Franchisor's standards and specifications
relating to the selection, purchase, storage, preparation, packaging, service and sale of
all food and beverage products being sold at the Restaurant, and (d) satisfying all of
Franchisor's prescribed standards of quality, service and cleanliness. Compliance by all
franchisees with the foregoing standards and policies in conjunction with the use of the
Marks provides the basis for the wide public acceptance of the System and its valuable
goodwill. Accordingly, strict adherence by all franchisees to all aspects of the System is
required at all times.

      2.2 The provisions of the Agreement shall be interpreted to give effect to the
intent of the parties stated in this Section 2 to assure that Franchisee shall operate the
Restaurant in conformity with the System, through strict adherence to Franchisor's
standards and policies as they now exist and as they may be modified from time to time.

3.     COMPLIANCE WITH THE SYSTEM

      Franchisee acknowledges that every component of the System is important to
Franchisor, to all franchisees and to the operation of the Restaurant, including the
requirements (a) that only those products designated and approved by the Franchisor
are sold at the Restaurant, and (b) that there is uniformity of food and beverage
specifications, preparation methods, quality, appearance, building and interior design,
color and decor, landscaping, facilities and service among all restaurant units in the
System. Accordingly, Franchisee agrees to and shall comply with all aspects of the
System (as it now exists and as it may be modified from time to time). Franchisee
recognizes and agrees that Franchisor may prohibit the use of the System and its trade
names, notwithstanding     the granting of this Agreement, if Franchisee fails to design,
construct, equip, furnish or operate its Restaurant in compliance with the specifications
designated by Franchisor, unless prior written approval has been received from
Franchisor.

4.    GENERAL SERVICES OF FRANCHISOR

      4. 1 Franchisor shall advise and consult with Franchisee    periodically in connection
with the operation  of the Restaurant, and at other reasonable times upon Franchisee's
request. Franchisor will provide to Franchisee such of its know-how, new developments,
techniques and improvements in areas of restaurant design, management, food and
beverage preparation, sales promotion and service concepts as may be pertinent to the
construction and operation of the Restaurant under the System. Franchisor may provide
the foregoing information (a) by sending representatives to visit the Restaurant, (b) by
providing written or other material, (c) at meetings or seminars, and (d) at training
sessions at Franchisor's training facility and/or such other locations as may be selected
by Franchisor from time to time. Franchisor also shall make available to Franchisee all
additional services, facilities, rights and privileges which Franchisor makes available
from time to time to its franchisees of the System generally.

      4.2 For approximately    eight (8) days prior to the opening     of the Restaurant and
the first six (6) days that the Restaurant   is open for business,   Franchisor shall provide
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Franchisee, at Franchisor's expense, with the services of up to a maximum of six (6) of
Franchisor's training personnel to facilitate proper operation of the kitchen, bar and
dining room areas during that period and to assist in correcting any operational
problems which may arise. Franchisee shall reimburse Franchisor for any additional
training support required or requested.

       4.3 From time to time during the term of this Agreement, Franchisorwill develop
and test new menu items. The menu consists of approved national food and beverage
selections. Franchisee shall comply with all menu changes which generally occur every
six (6) months. The menu may be modified to reflect food and beverage items peculiar
to Franchisee's local area, subject to Franchisor's testing and approval.

5.     RESTAURANT SYSTEM AND PROCEDURES

       5. 1 Franchisor shall furnish Franchisee with advice and assistance in managing
and operating the Restaurant, and Franchisor's representatives will visit the Restaurant
periodically.   Franchisor will assist Franchisee in coordinating the Restaurant's
pre-opening activities, and as noted more particularly in Subsection 4.2 hereof, shall
provide Franchisee with the services of certain of Franchisor's personnel to facilitate
proper operation of the Restaurant when it opens for business.

       5.2 Franchisee shall designate an employee who will supervise the Restaurant,
and devote his or her full time, best efforts and constant personal attention to the
day-to-day operation of the Restaurant (the "General Manager" ). Franchisee also shall
designate an employee who will supervise the Restaurant kitchen, and devote his or her
full time, best efforts and constant personal attention to the day-to-day operation of the
Restaurant kitchen (the "Kitchen Manager" ) and an appropriate number of Assistant
Managers.

      5.3 Franchisor reserves the right to require   that, as a condition of his or her
employment, the General Manager must successfully complete Franchisor's interview
process and a psychological profile test in a manner which satisfies a uniform standard
established by Franchisor. The test shall be administered by Franchisor, or by a testing
agency designated by Franchisor, at Franchisee's expense.

      5.4 Unless Franchisor shall have given its prior written approval, Franchisee    shall
keep the Restaurant open for business only during the hours which are specified by
Franchisor in the Franchise Operations Manual or in such other materials or manuals
provided or made available by Franchisor to Franchisee (collectively the "Manuals" ),
provided that such hours do not conflict with state laws or local ordinances relating to
the sale of alcoholic beverages or governing the hours during which restaurant
establishments may be open for business. In addition, Franchisee expressly agrees to:

            (a) operate the Restaurant in a clean, safe and orderly manner,     providing
      courteous, first-class service to the public;

           (b) diligently promote   and make every reasonable     effort to increase    the
      business of the Restaurant;
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            (c) advertise the business of the Restaurant by the use of the Marks and
       such other insignia, slogans, emblems, symbols, designs and other identifying
       characteristics as may be developed or established from time to time by Franchisor
       and included in the Manuals, subject to the limitations of Subsections 8.4 and 8.5
       hereof;

            (d)           and, to the best of Franchisee's ability, prevent the use of the
                    prohibit
       Restaurant for any immoral or illegal purpose, or for any other purpose, business
       activity, use or function which is not expressly authorized hereunder or in the
       Manuals; and

            (e)  comply fully with all applicable laws and regulations, including, but not
       limited to, those relating to building     construction, maintenance    and safety,
       environmental, fire prevention, food safety, public access and the sale of alcoholic
       beverages.

       5.5 Franchisee hereby acknowledges receipt and loan of a copy of the Manuals
heretofore or hereinafter furnished to Franchisee, and agrees to faithfully, completely
and continuously perform, fulfill, observe and follow all instructions, requirements,
standards,     specifications,  systems and procedures contained therein, including
(a) those relating to the construction, design, decor, building and equipping of the
Restaurant,     (b) those relating to the selection, purchase,        storage, preparation,
packaging, service and sale of all products being sold at the Restaurant, (c) those
relating to the maintenance and repair of Restaurant building, grounds, equipment,
signs, interior and exterior decor items, fixtures and furnishings, and (d) those relating to
employee uniforms and dress, accounting, bookkeeping, record retention, and other
business systems, procedures and operations. The Manuals are incorporated herein by
reference and hereby made part of this Agreement.            Franchisee acknowledges and
agrees that the materials contained in the Manuals are integral, necessary and material
elements of the System.

      5.6 Franchisee understands,    acknowledges and agrees that strict conformity with
the System, including the standards, specifications, systems, procedures, requirements
and instructions contained in this Agreement and in the Manuals, is vitally important, not
only to the success of Franchisor, but to the collective success of all of Franchisor's
other franchisees, by reason of the benefits which Franchisor and all of its franchisees
will derive from uniformity in products sold, identity, quality, appearance, facilities and
service among all restaurant units which are part of the System. Without limiting the
generality of the foregoing provisions, Franchisee agrees to adhere strictly to the
requirements in the Manuals relating (a) to the construction, design, decor, building and
equipping of the Restaurant, (b) to the maximum permissible ratio of sales of alcoholic
beverages to sales of food at the Restaurant, and (c) to the limitations on the number of
video games or similar devices which may be placed on the Restaurant premises. Any
failure to adhere to the standards, specifications, systems, requirements or instructions
contained in this Agreement or in the Manuals shall constitute a material breach of this
Agreement.


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      5.7 Franchisor shall have the right, at any time and from time to time, in the good
faith exercise of its reasonable business judgment, consistent with the overall best
interests of the System generally, having due regard for the financial burden which may
be placed upon its franchisees, to revise, amend, delete from and add to the System
and the material contained in the Manuals. Franchisee expressly agrees to comply with
all such revisions,   amendments,   deletions and additions.

       5.8 Franchisee shall offer for sale from the Restaurant, at all times when the
Restaurant is open for business, only the products which are expressly designated in
the Manuals, except, as noted more particularly in Subsection 4.3, to the extent that
Franchisee has obtained Franchisor's prior written consent to a modification of that
requirement.  No product shall be offered or sold at or from the Restaurant under, or in
connection with, any trademark or service mark other than Franchisor's designated
Marks without Franchisor's prior written consent.

       5.9 Franchisor shall have the right to establish or to designate a group purchasing
program from time to time (which may include a purchasing or distribution cooperative),
with respect to equipment,      supplies, inventory and services used in or by the
Restaurant. Promptly upon notice thereof from Franchisor, Franchisee shall execute a
participation agreement in the form approved by Franchisor for the group purchasing
program and participate therein. Franchisor may modify or discontinue the group
purchasing program at any time upon thirty (30) days prior written notice to Franchisee.

       5. 10 Franchisee shall obtain all food and beverage products, equipment, signs,
interior and exterior decor items, fixtures, furnishings, supplies, and other products and
materials required for the operation of or sold at the Restaurant solely from suppliers
(including    manufacturers,    distributors  and other sources) who demonstrate,             to
Franchisor's continuing reasonable satisfaction, the ability to meet Franchisor's then-
current standards and specifications for such items; who possess adequate quality
controls and capacity to supply Franchisee's needs promptly and reliably; and who have
been approved in writing by Franchisor and not thereafter disapproved. The Manuals
contain a list of approved suppliers. If Franchisee desires to purchase any items from
an unapproved supplier, Franchisee shall submit to Franchisor a written request for
such approval, which approval shall not be unreasonably withheld, or shall request the
supplier itself to do so. Franchisor shall have the right to inspect the supplier's facilities,
and to require that samples from the supplier be delivered, at Franchisor's option, either
to Franchisor or to an independent, certified laboratory designated by Franchisor for
testing. Franchisee or the supplier shall pay the costs of any such test. Franchisor shall
notify Franchisee in writing within sixty (60) days of receiving any such request whether
it disapproves    the supplier. Failure by Franchisor to so notify Franchisee within that
period shall be deemed to constitute Franchisor's approval of such supplier. Franchisor
reserves the right, at its option, to reinspect the facilities and retest products of any such
approved supplier at any time and to revoke its approval upon the supplier's failure to
continue to meet any of Franchisor's criteria.           Notwithstanding   the foregoing, any
supplier of goods which will bear any of the Marks shall not be approved to supply
Franchisee such goods until such supplier has entered a written agreement with
Franchisor or its affiliated companies regarding the production, use and sale of such
goods.
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       5.11 No food or beverage    product, interior or exterior decor item, sign, item of
equipment, fixtures, furnishings or supplies, or other product or material required for the
operation of the Restaurant, which bears any of the Marks, shall be used or sold in or
upon the Restaurant premises unless the same shall have been first submitted to and
approved in writing by Franchisor.

      5. 12 The Manuals and all related material furnished to Franchisee hereunder are
and shall remain the property of Franchisor, and must be returned to Franchisor, along
with any copies made thereof, immediately       upon request or upon the expiration or
earlier termination of this Agreement.

6.     TRAINING

       6. 1 Franchisor  shall make its operations training course available to the General
Manager, the      Kitchen Manager, and Franchisee's Assistant Managers and other
Restaurant managers.

       6.2 Before the Restaurant  opens for business, and thereafter as replacement
personnel are employed by Franchisee, the General Manager, the Kitchen Manager
and each Assistant Manager shall attend Franchisor's operations training facility for
such period of time as Franchisor shall deem reasonably necessary, and shall
successfully complete that course to Franchisor's reasonable satisfaction. If the General
Manager, Kitchen Manager or an Assistant Manager fails to successfully complete
Franchisor's operations training course, Franchisor may require designation of a new
General Manager, Kitchen Manager or Assistant Manager, as the case may be, and
Franchisee shall designate a new General Manager, Kitchen Manager or Assistant
Manager, who shall be required to successfully complete such training course.

      6.3 The General Manager, the Kitchen Manager and each Assistant Manager
shall, from time to time as reasonably required by Franchisor, attend and successfully
complete to Franchisor's reasonable satisfaction a Franchisor-provided refresher course
in restaurant operations.


      6.4 Franchisee     shall be responsible for the Restaurant's compliance with the
operating    standards,    methods, techniques   and material taught at Franchisor's
operations training course, and shall cause the employees of the Restaurant to be
trained in such standards, methods and techniques as are relevant to the performance
of their respective duties.

      6.5 Attendance of the General Manager, the Kitchen Manager and each Assistant
Manager at any of Franchisor's training courses shall be tuition-free. Franchisee shall
pay all other costs and expenses relating to the attendance of Franchisee's personnel at
any of Franchisor's training courses, including, without limitation, the cost of travel,
lodging, meals, and other related and incidental expenses.

7.    RESTAURANT MAINTENANCE


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       7.1 Franchisee shall, at Franchisee's sole cost and expense, maintain the
Restaurant in conformity with the standards, specifications and requirements of the
System, as the same may be designated by Franchisor from time to time. Franchisee
specifically agrees to repair or replace, at Franchisee's cost and expense, equipment,
signs, interior and exterior decor items, fixtures, furnishings,      supplies, and other
products and materials required for the operation of the Restaurant as necessary or
desirable, and to obtain, at Franchisee's cost and expense, any new or additional
equipment, signs, interior and exterior decor items, fixtures, furnishings, supplies, and
other products and materials which may be reasonably required by Franchisor for new
products or procedures.      Except as may be expressly provided in the Manuals, no
alterations or improvements, or changes of any kind in design, equipment, signs, interior
or exterior decor items, fixtures or furnishings shall be made in or about the Restaurant
or Restaurant premises without the prior written approval of Franchisor in each
instance.

       7.2 In order to assure the continued success of the Restaurant, Franchisee must,
at any time from time to time after the six (6) year anniversary of the date of this
Agreement as reasonably required by Franchisor (taking into consideration the cost and
then-remaining    term of this Agreement),      modernize     the Restaurant    premises,
equipment, signs, interior and exterior decor items, fixtures, furnishings, supplies, and
other products and materials required for the operation of the Restaurant,              to
Franchisor's then-current    standards and specifications, provided that at the time
Franchisor requires Franchisee to so modernize the Restaurant premises at least
twenty-five percent (25%) of the Restaurants owned and operated by Franchisor or its
affiliates meet such standards and specifications.   Franchisee's obligations under this
Subsection are in addition to, and shall not relieve Franchisee from, any of its other
obligations under this Agreement, including those contained in the Manuals.

      7.3   If Franchisee   is or becomes   a lessee of the Restaurant premises, Franchisee
shall have included     in the lease provisions expressly permitting  both Franchisee and
 Franchisor to take all actions and make all alterations referred to under Subsections 7. 1
and 7.2 hereof, requiring the lessor thereunder to give Franchisor reasonable notice of
any contemplated termination, and providing that Franchisee has the unrestricted right
to assign the lease to Franchisor, Franchisor's affiliates or approved franchisees of
Franchisor without the lessor having any right to impose conditions on such assignment
or to obtain any payment in connection therewith. Franchisee shall not, without the prior
written consent of Franchisor, execute any lease or other agreement which imposes, or
purports to impose, any limitations on the ability of Franchisee and/or of Franchisor or
its affiliates to operate additional restaurants    at any particular location beyond the
geographic limitation set forth in Section 1.4 hereof, or any lease the term of which is
shorter than the term of this Agreement. For purposes of clarification, Franchisor may
require the lease to contain such other provisions as may be specified in Franchisor's
then current lease approval policy or the terms and conditions of Franchisor's approval
of the site for the Restaurant.

8.    ADVERTISING



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     8. 1 Franchisor       shall   develop   and administer   advertising,    public   relations   and
sales promotion programs designed to promote and enhance the collective success of
all restaurant units in the System. It is expressly understood, acknowledged and agreed
that in all phases of such advertising and promotion, including, without limitation, type,
quantity, timing, placement and choice of media and medium, market areas, advertising
agencies and public relations firms, Franchisor's decisions shall be final and binding.
Franchisee   shall have the right to participate actively in all such advertising, public
relations and sales promotion programs, but only in full and complete accordance with
such terms and conditions as may be established by Franchisor for each such program.

     8.2 Franchisee        shall pay the amounts described     in this   Section 8.2, in the manner
described    in Section   9 hereof.

             (a) Franchisee shall pay to Franchisor a minimum dollar amount equal to
                                                        of Franchisee's gross sales, as
defined in Subsection 9.3 hereof. Such funds shall become the sole and absolute
property of Franchisor, to be allocated to a separate "advertising account" established
by Franchisor (the "Fund" ). Franchisor shall use such funds for market studies,
advertising and marketing studies or services, production of commercials, advertising
copy and layouts, traffic costs, agency fees, marketing personnel, or any other costs
associated with the development, marketing and testing of advertising, and for the
purchase of advertising time, space or materials in national, regional or other
advertising media, in a manner determined by Franchisor in its sole discretion; provided,
however, that all interest earned on such funds shall be Franchisor's or its affiliate's sole
property. Within six (6) months following the end of Franchisor's fiscal year, Franchisor
shall provide all franchisees with an accounting of all amounts received from them and
expended by Franchisor from the Fund for the matters set forth above.

             (b)             Franchisee shall expend a minimum dollar amount equal to
                   In addition,
                          of Franchisee's gross sales, for local promotional activities,
subject to the provisions of Subsections 8.3, 8.5 and 8.6 hereof. Franchisor shall have
the right at all times to review Franchisee's books and records, and to require
Franchisee to produce evidence of its gross sales and local promotional activities, to
ensure Franchisee's compliance with this Section. Any amount determined by said
audit to be due Franchisor as part of the advertising fee will be paid to Franchisor by
Franchisee within ten (10) days thereafter.

            (c) At any time after execution of this Agreement, Franchisor may in its sole
discretion increase, to a maximum of                      of gross sales, the percentage
of gross sales which Franchisee shall be required to pay to Franchisor for allocation to
the Fund pursuant to Subsection 8.2. Franchisor shall use the funds paid pursuant to
that increased percentage requirement solely for the purchase of advertising time,
space or materials in national, regional or other advertising media, in a manner
determined by Franchisor in its sole discretion, provided that in each calendar year (or
other twelve (12) month period established by Franchisor) in which Franchisor makes
expenditures for advertising from the Fund, so long as Franchisee is in compliance with
its obligations hereunder,   Franchisor's expenditures for advertising in the Territory
encompassed by the Development Agreement (including expenditures for national or
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 regional advertising in media which reach that Territory) shall be on a basis which is
 roughly proportional to Franchisee's contribution to the Fund during that calendar year
or other twelve (12) month period; provided that, Franchisor does not guarantee that the
benefits of such advertising will be equal to or comparable to the benefits of advertising
received by other Applebee's Neighborhood Grill 8 Bar franchisees.

           (d) Franchisor also may increase the percentage of gross sales which
Franchisee shall be required to spend for local promotional activities, provided however,
that in no event shall Franchisee be required to make payments                 pursuant to
Subsection 8.2 in an aggregate dollar amount in excess of                          of gross
sales. For purposes of clarification, Franchisor may also decrease the amounts
required to be paid or expended by Franchisor pursuant to this Subsection 8.2.

      8.3 Franchisor may designate any geographic area in which two (2) or more
Restaurants are located and owned by different parties as a region for purposes of
establishing an advertising cooperative (a "Cooperative" ).

             (a) If a Cooperative is established, the members of the Cooperative for that
region         consist of all Restaurants whether operated by Franchisor, its affiliated
            will
companies, or franchisees. Franchisor will determine in advance how each Cooperative
will be organized and governed and when it must start operation.      Each Cooperative will
be governed by a co-op advertising policy, which will be provided to all members of the
Cooperative upon request.         Once the Cooperative is established, members of the
Cooperative may not dissolve, merge or change the structure of a Cooperative without
the prior written consent of Franchisor.       Each Cooperative will be organized for the
exclusive purposes of administering advertising programs and developing, subject to
Franchisor's approval, promotional        materials for use by the members in Local
Advertising.     If a Cooperative has been established    for a geographic area where the
Restaurant is located when the Franchise Agreement is signed, or if any Cooperative is
established during the term of the Franchise Agreement, Franchisee must sign all
documents Franchisor requests and become a member of the Cooperative according to
the terms of the documents.         Franchisor will provide to Franchisee a copy of the
Cooperative documents applicable to the geographic area in which the Restaurant will
be located upon Franchisee's request.

            (b) Franchisee must contribute to the Cooperative the amounts required by
the documents governing the Cooperative, subject to the maximum contributions
described in Section 8.2(b) above. Franchisee's payments to the Cooperative will apply
toward satisfaction of Franchisee's Local Advertising requirement.   Franchisee agrees
to submit to Franchisor and the Cooperative any reports that Franchisor or the
Cooperative requires.     All contributions to the Cooperative will be maintained and
administered according to the Cooperative governing documents.       Franchisor retains
the right to approve all expenditures made by the Cooperative. The Cooperative will be
operated solely as a means for the collection and expenditure of the Cooperative fees
for the purposes outlined above. No advertising or promotional plans or materials may
be used by the Cooperative or furnished to its members without first obtaining
Franchisor's approval.


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      8.4 Franchisee shall submit to Franchisor, for Franchisor's approval, an
advertising campaign plan relating to the promotion of the opening of the Restaurant
which is sufficient to meet the needs of the market.       The Manuals contain a Press
Release kit to assist Franchisee in this regard. Franchisee shall conduct the approved
advertising campaign and make all expenditures for advertising to promote the opening
of the Restaurant no later than sixty (60) days after the Restaurant opens for business.
Franchisor will reimburse                     ) of Franchisee's out-of-pocket advertising
expenditures up to                                                                        if
Franchisee meets the following criteria:

                   (a) Franchisee's  opening advertising expenditures are made, and the
       approved advertising campaign has been conducted, within sixty (60) days after
       the opening of the Restaurant;

                  (b)   Franchisee submits to Franchisor within one hundred twenty (120)
       days after the opening of the Restaurant documentation for the opening advertising
       expenditures, such as paid invoices from suppliers of goods or services evidencing
       expenditure on the opening advertising promotion; and

                 (c) Franchisee's opening advertising expenditures are made pursuant
       to the approved advertising campaign plan and in accordance with the Grand
       Opening Reimbursement Program Policy Guidelines set forth in the Manuals.

       8.5 Nothing in the foregoing Subsections shall be deemed to prohibit Franchisee
from  making additional    expenditures  for local promotional activities.  All of the
Franchisee's local promotional activities shall utilize appioved advertising media.
"Approved advertising media" are limited to the following:

             (a)   Newspapers,     magazines and other such periodicals;

             (b)   Radio and television;

             (c)   Outdoor advertising     by signs displayed   on billboards or buildings; and

             (d)   Handbills,   flyers, door-hangers   and direct mail.

      In the event Franchisee wants to use a form of advertising medium not set forth
above, Franchisee shall submit a description of such medium and advertising to
Franchisor.    Franchisor shall notify Franchisee whether it approves the use of such
medium within thirty(30) days of Franchisee's request.      Failure by Franchisor to so
notify Franchisee within that period shall be deemed to constitute Franchisor's approval
of such request.      Guidelines for local promotional activities are contained in the
Manuals, including Franchisee's required participation in any co-operative marketing
program.

       8.6   advertising copy and other materials employed by Franchisee in local
             All
promotional activities shall be in strict accordance and conformity with the standards,
formats and specimens contained in the Manuals and shall receive the prior approval of
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Franchisor. In the event Franchisee wishes to deviate from the materials contained in
the Manuals, Franchisee shall submit, in each instance, the proposed advertising copy
and materials to Franchisor for approval in advance of publication.       Franchisor shall
notify Franchisee in writing, within fifteen(15) days of such submission,         whether
Franchisor disapproves such advertising copy and materials. Failure by Franchisor to
so notify Franchisee within that period shall be deemed to constitute Franchisor's
approval of such advertising copy and materials. In no event shall Franchisee's
advertising contain any statement or material which may be considered (a) in bad taste
or offensive to the public or to any group of persons, (b) defamatory of any person or an
attack on any competitor, (c) to infringe upon the use, without permission, of any other
persons' trade name, trademark, service mark or identification, or (d) inconsistent with
the public image of Franchisor or of the System.

9.      FEES

     9.1 As partial consideration    for the rights granted hereunder,   Franchisee shall pay
Franchisor:

             (a) an initial franchise fee of                                          , to be
        paid in the manner prescribed in Subsection   4. 1 of the Development Agreement as
        payment for the grant of the franchise;

             (b)  a monthly royalty fee as determined by Franchisor, not to exceed
                     of each calendar month's gross sales, as provided in Subsection 4.3
        of the Development Agreement, as payment for Franchisee's continuing right to
        operate the Restaurant as part of the System (see Exhibit 1); and

             (c) a monthly advertising fee equal to such percentage of each calendar
        month's gross sales as Franchisor may require pursuant to Subsection 8.2 hereof.

     9.2 The fees referred to in Subsections 9.1(b) and (c) (the "Fees") shall be paid
on or before the twelfth day of the next full month immediately following the month to
which the Fees relate. Any Fees, including the initial franchise fee, which are not paid
when due shall bear interest from and after the due dates thereof at the rate of
               per annum or the highest rate permitted by applicable law, whichever is
less.

        9.3 (a) Except for the sale of a gift card (on which    royalty shall be due and
payable upon redemption of the gift card and as provided in Subsection 9.3(b) hereof,
the term "gross sales, " as used in this Agreement, shall mean all receipts (cash, cash
equivalents or credit) or revenues from sales from all business conducted upon or from
the Restaurant premises, whether evidenced by check, cash, credit, debit card, charge
account, exchange or otherwise, including, but not limited to, amounts received from the
sale of goods, wares and merchandise (including sales of food, beverages             and
tangible property of every kind and nature, promotional or otherwise), from all services
performed from or at the Restaurant premises, and from all orders taken or received at
the Restaurant premises, regardless of where such orders are filled (including any
payments received from the sale of meals to employees).         Gross sales shall not be
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reduced by any deductions for cash shortages incurred in connection with the
transaction of business with customers, credit card company charges or theft which is
reimbursed by insurance or is not reported to the appropriate police authorities.    Each
charge or sale upon installment or credit shall be treated as a sale for the full price in
the month during which such charge or sale shall be first made, irrespective of the time
when Franchisee shall receive payment (whether full or partial) therefor.

           (b) Gross sales shall not include: (i) the sale of merchandise for which cash
has been refunded or, except as provided in the second sentence of Subsection 9.3(a),
not received, or allowances made for merchandise, if the sales of any such returned or
exchanged merchandise shall have been previously included in gross sales, (ii) the
amount of any sales tax imposed by any federal, state, municipal or other governmental
authority directly on sales and intended to be collected from customers, provided that
the amount thereof is added to the selling price and actually paid by the Franchisee to
such governmental      authority, (iii) the sale of merchandise for which a gift card is
redeemed, if the initial sale of the gift card shall have been previously included in gross
sales, (iv) the sale of waste products of the Restaurant, (v) telephone, game and
vending machine revenues, (vi) the sale of non-food items or beverages at a discount in
connection with a promotional campaign, (vii) one-time sale of furniture, fixtures or
equipment, and (viii) theft which is not covered by insurance and is reported to the
appropriate police authorities. In addition, Franchisor may, from time to time, in writing,
permit or allow certain other items to be excluded from gross sales.              Any such
permission or allowance may be revoked or withdrawn at Franchisor's discretion.

      9.4 Franchisee    agrees that, subject to the provisions of this Section 9.4,
Franchisor or its designee may withdraw funds from Franchisee's designated bank
account by electronic funds transfer ("EFT") in the amount of any royalties or other fees
payable to Franchisor under this Agreement. Franchisor or its designee will make each
EFT withdrawal of the royalty fees described in Section 9.1(b) and advertising fees
described in Section 9.1(c) on the dates such payments are due. Franchisor or its
designee may withdraw any other payments owed to Franchisor pursuant to, or in
connection with, this Agreement if such payments become more than 10 days past due.
Franchisee's designated bank account for EFT withdrawals shall at all times be
maintained in the United States and such account shall permit EFT withdrawals by
Franchisor or its designee without approval of, or involvement by, a government agency
or authority. If Franchisee has not submitted a monthly Restaurant report as required
by Section 10.2(a) hereof, Franchisor or its designee may make an EFT withdrawal for
overdue royalty fees based on a good faith estimate of the Gross Sales for the
applicable month.      After the applicable monthly Restaurant      report is submitted,
Franchisor or its designee will make an appropriate credit to Franchisee for any
overpayment or will invoice Franchisee for any underpayment, as applicable.

      9.5 Franchisee will, upon execution of this Agreement, execute a document     in the
form of A endix D, granting to Franchisor or its designee the authority to process EFTs
from Franchisee's designated bank account. From time-to-time at Franchisor's request,
Franchisee will execute any additional documents necessary to confirm or update this
authority. Franchisee will be responsible for any EFT transfer fee or similar charge
imposed by Franchisee's bank, and for any service charges incurred by Franchisor or
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its designee  and/or imposed by Franchisee's bank should any EFT not be honored by
Franchisee's bank for any reason. Throughout the term of this Agreement, Franchisee
will maintain  a minimum balance sufficient to satisfy all of Franchisee's obligations
under this Agreement. It will be a material event of default of Franchisee if Franchisee
closes the account without Franchisor's consent, or closes the account with
Franchisor's consent, but fails to promptly establish another account and execute all
documents necessary for Franchisor or its designee to process all payments by EFT
from the new account.

10. RECORD KEEPING; ACCESS TO INFORMATION

      10.1    Franchisee shall employ a point of sale system approved by Franchisor,
without modification, in connection with the business of the Restaurant. Franchisee
shall use such bookkeeping and record keeping forms as shall be prescribed in the
Manuals.

       10.2  Franchisee shall complete and submit to Franchisor, on a regular,
continuous basis, each of the following reports, in the form specified in the Manuals:

           (a) monthly Restaurant reports, on or before the twelfth               day of each
      calendar month following the month to which the report relates;

              (b)   annual Restaurant   reports, on or before the fifteenth day of April of each
      year;
           (c) weekly gross sales reports, on or before the Tuesday following                the
      calendar week to which the report relates; and

              (d)   such additional reports as the Franchisor shall request.

       10.3     The annual Restaurant reports referred to above shall include a balance
sheet dated as of the end of Franchisee's fiscal year or calendar year and a profit and
loss statement for such year, together with such additional financial information as
Franchisor may reasonably request. Such balance sheet and profit and loss statement
shall be prepared in accordance with generally accepted accounting principles, certified
as correct and complete by Franchisee's chief executive officer, president, chief
financial   officer or controller and reported on and reviewed by an independent
state-licensed certified public accountant. If Franchisee fails to provide Franchisor with
such balance sheet and profit and loss statement, Franchisor shall have the right to
have an independent audit made of Franchisee's books and records, and Franchisee
shall promptly reimburse Franchisor for the cost thereof.

        10.4     Each of the reports referred to in this Section 10 shall be completed by
Franchisee or its accountant in the respective specimen forms, and in accordance with
the instructions, contained in the Manuals. Subsection 10.3 notwithstanding,    time is of
the essence with respect to the completion and submission of each such report.

           10.5      Franchisee shall install and maintain such equipment, make such
arrangements        and follow such procedures as Franchisor may require in the Manuals or
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otherwise in writing (including the establishment and maintenance of Internet, intranet or
extranet access or such other means of electronic communication, as specified by
Franchisor from time to time) to permit Franchisor to access, download, and retrieve
electronically, by telecommunication or other designated method, any information stored
in Franchisee's      electronic cash registers or on Franchisee's computer systems,
including information concerning the gross sales of the Restaurant, and to permit
Franchisor to upload and for Franchisee to receive and download information from
Franchisor with or without Franchisee's prior consent. Franchisee further agrees that
Franchisor will have and be afforded access to such information at the times and in the
manner that Franchisor may specify from time to time, including extracting information
by electronic, digital or other means.

 11. FRANCHISEE       ORGANIZATION,       AUTHORITY,     FINANCIAL      CONDITION    AND
       SHAREHOLDERS

          11.1    Franchisee and each Principal Shareholder represent and warrant that:
(a) Franchisee is a corporation duly incorporated, validly existing and in good standing
under the laws of the State of its incorporation; (b) Franchisee is duly qualified and is
authorized to do business and is in good standing as a foreign corporation in each
jurisdiction in which its business activities or the nature of the properties owned by it
requires such qualification; (c) the execution and delivery of this Agreement and the
transaction contemplated       hereby are within Franchisee's corporate power; (d) the
execution and delivery of this Agreement has been duly authorized by the Franchisee;
(e) the articles of incorporation and by-laws of Franchisee delivered to Franchisor are
true, complete and correct, and there have been no changes therein since the date
thereof; (f) the certified copies of the minutes electing the officers of Franchisee and
authorizing the execution and delivery of this Agreement are true, correct and complete,
and there have been no changes therein since the date(s) thereof; (g) the specimen
stock certificate delivered to Franchisor is a true specimen of Franchisee's stock
certificate; (h) the most recent balance sheet of Franchisee ("Balance Sheet" ) and the
most recent balance sheets of its Principal Shareholders heretofore delivered to
Franchisor, are true, complete and correct, and fairly present the financial positions of
Franchisee and each Principal Shareholder, respectively, as of the dates thereof; (i) the
Balance Sheet and each such balance sheet have been prepared in accordance with
generally accepted accounting principles; and (j) there have been no materially adverse
changes in the condition, assets or liabilities of Franchisee or Principal Shareholders
since the date or dates thereof.

           11.2  Franchisee and each Principal Shareholder covenant that during the
term of this Agreement: (a) Franchisee shall do or cause to be done all things
necessary to preserve and keep in full force its corporate existence and shall be in good
standing as a foreign corporation in each jurisdiction in which its business activities or
the nature of the properties owned by it requires such qualification; (b) Franchisee shall
have the corporate authority to carry out the terms of this Agreement;                 and
(c) Franchisee shall print, in a conspicuous fashion on all certificates representing
shares of its stock when issued, a legend referring to this Agreement and the
restrictions on and obligations of Franchisee and Principal Shareholders hereunder,
including the restrictions on transfer of Franchisee's shares.
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           11.3             to the financial information which Franchisee is required to
                    In addition
provide to Franchisor under Subsections10. 2 and 11.1 hereof, Franchisee and
Principal Shareholders shall provide Franchisor with such other financial information as
Franchisor may reasonably request from time to time, including, on an annual basis,
copies of the then-most current financial statements of Franchisee and each Principal
Shareholder, dated as of the end of the last preceding fiscal year of the Franchisee or
Principal Shareholder, said statements to be delivered to Franchisor no later than
April 15 of each year, which financial statements shall conform to the standards set forth
in Subsection 11.1 hereof.


           11.4 Franchisee and each Principal Shareholder represent, warrant and
covenant that all Interests (as defined in Subsection 12.4 hereto) in Franchisee are
owned as set forth on AppendixA hereto, that no Interest has been pledged or
hypothecated (except in accordance with Section 12 of this Agreement), and that no
change will be made in the ownership of any such Interest other than as permitted by
this Agreement, or otherwise consented to in writing by Franchisor.     Franchisee and
Principal Shareholders agree to furnish Franchisor with such evidence as Franchisor
may request, from time to time, for the purpose of assuring Franchisor that the Interests
of Franchisee and Principal Shareholders remain as represented herein.

         11.5 Each Principal Shareholder, jointly and severally, hereby personally and
unconditionally    guarantees each of Franchisee's financial obligations to Franchisor
(including, but not limited to, all obligations relating to the payment of fees by
Franchisee to Franchisor).      Each Principal Shareholder agrees that Franchisor may
resort to such Principal Shareholder (or any of them) for payment of any such financial
obligation, whether or not Franchisor shall have proceeded against Franchisee, any
other Principal Shareholder or any other obligor primarily or secondarily obligated to
Franchisor with respect to such financial obligation. Each Principal Shareholder hereby
expressly waives presentment,       demand, notice of dishonor, protest, and all other
notices whatsoever with respect to Franchisor's enforcement of this guaranty.             In
addition, each Principal Shareholder agrees that if the performance or observance by
Franchisee of any term or provision hereof is waived or the time of performance thereof
extended by Franchisor, or payment of any such financial obligation is accelerated in
accordance with any agreement between Franchisor and any party liable in respect
thereto or extended or renewed, in whole or in part, all as Franchisor may determine,
whether or not notice to or consent by any Principal Shareholder or any other party
liable in respect to such financial obligations is given or obtained, such actions shall not
affect or alter the guaranty of each Principal Shareholder described in this Subsection.

           11.6    Franchisee     and each Principal   Shareholder   represent    and warrant    to
Franchisor that:

                (a) Neither Franchisee nor any Principal Shareholder or any other person
           with  a direct or indirect ownership interest in Franchisee is identified, either by
           name or an alias, pseudonym or nickname, on the list of "Specially Designated
           Nationals and Blocked Persons" maintained by the U. S. Treasury Department's
           Office      of      Foreign      Assets      Control     (texts    available      at
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           www. treas. ov/offices/enforcement/ofac/).       Further, Franchisee and its Principal
           Shareholders     represent and warrant that neither has violated and agree that
           neither will violate any law (in effect now or which may become effective in the
           future) prohibiting corrupt business practices, money laundering or the aid or
           support of persons or entities who conspire to commit acts of terror against any
           person or government, including acts prohibited by the U. S. Patriot Act (text
           available at htt://www. e ic.or / rivac /terrorism/hr3162. html), U. S. Executive
           Order                 13244                (text              available                at
           htt://treas. ov/offices/enforcement/ofac/sanctions/terrorism.     html), or similar law;

                 (b) Franchisee has not made, nor has any Principal Shareholder made, any
           expenditures other than for lawful purposes or directly or indirectly offered, gave,
           promised to give or authorized the payment or the gift of any money, or anything
           of value, to any person or entity, while knowing or having reason to know that all
           or a portion of such money or thing of value would be given or promised, directly
           or indirectly, to any government official, official of an international organization,
           officer or employee of a foreign government or anyone acting in an official
           capacity for a foreign government, for the purpose of (1) influencing any action,
           inaction or decision of such official in a manner contrary to his or her position or
           creating an improper advantage; or (2) inducing such official to influence any
           government or instrumentality thereof to effect or influence any act or decision of
           such government or instrumentality.

                 (c) Franchisee nor any Principal Shareholder or any other person or entity
           who has any direct or indirect ownership interest is or will become directly or
           indirectly owned or controlled by governmental authorities of any country that is
           subject to a United States embargo; and

      Franchisee understands and its Principal Shareholders understand and have been
advised by legal counsel on the requirements of the United States Foreign Corrupt
Practices Act (currently located at www. usdo. ov/criminal/fraud/fc     a. html, any local
foreign    corrupt  practices    laws   and the Patriot      Act (currently     located at
www. e ic. or / rivac /terrorism/hr3162. html, acknowledge the importance to Franchisor
and the Restaurants and the parties' relationship of their respective compliance with the
requirements of these laws, including any applicable auditing requirements and any
requirement to report or provide access to information to Franchisor or any government,
that is made part of any applicable law, and agree to take all steps required by their
consultants, agents and employees to comply with such laws prior to engaging or
employing any such individuals or entities.




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12. TRANSFER

           12.1  There shall be no Transfer of any Interest of Franchisee, or of a Principal
Shareholder       Franchisee, in whole or in part (whether voluntarily or by operation of
                  in
law), directly, indirectly or contingently, except in accordance with the provisions of this
Section 12. "Transfer" and "Interest" are defined in Subsections 12.2, 12.3 and 12.4.
Any proposed Transfer also shall be subject to the provisions of the Development
Agreement, which are incorporated herein by reference.

           12.2Except as provided in Subsection12. 3, "Transfer" shall mean any
assignment, sale, pledge, hypothecation, gift or any other event which would change
ownership of or change or create a new Interest, including, but not limited to:

           (a) any change in the ownership of or rights in or to any shares of stock or
      other equity interest in Franchisee which would result from the act of any
      shareholder of Franchisee ("Shareholder" ), such as a sale, exchange, pledge or
      hypothecation of shares, or any interest in or rights to any of Franchisee's profits,
      revenues or assets, or any such change which would result by operation of law;
      and

           (b) any change in the percentage interest owned by any Shareholder in the
      shares of stock of Franchisee, or interests in its profits, revenues or assets which
      would result from any act of Franchisee such as a sale, pledge or hypothecation of
      any Restaurant assets (other than a pledge of assets to secure bona fide loans
      made or credit extended in connection with acquisition of the assets pledged,
      provided  that immediately before and after such transaction the net worth of
      Franchisee shall not be less than the amount which is reflected on the Balance
      Sheet referred to in Subsection 11.1 of this Agreement); any sale or issuance of
      any shares of Franchisee's stock; the retirement or redemption of any shares of
      Franchisee's stock; or any sale or grant to any person of any right to participate in
      or otherwise to share or become entitled to any part of Franchisee's profits,
      revenues, assets or equity.

           12.3  "Transfer" shall not include (a) a change in the ownership of or rights to
any shares or other equity interest in Franchisee pursuant to a public offering of
Franchisee's securities registered under the Securities Act of 1933, or (b) a change in
the ownership of or rights to any securities or other equity interest in Franchisee
pursuant to a private offering of Franchisee's securities exempted from registration
under such Act, provided that Franchisee provides Franchisor with a copy of its
prospectus and/or offering memorandum           ten (10) days prior to its filing with the
Securities and Exchange Commission or circulation to third parties so that Franchisor
may comment and, if necessary, correct any information concerning Franchisor and/or
the System, and further provided that after giving effect to such public or private
offering, the Principal Shareholders, or any of them, "control" Franchisee. For purposes
of this Section 12, "control" means either (1) owning legal and equitable title to fifty-one
percent (51%) or more of the outstanding voting securities of Franchisee, which are not
subject to a proxy granted to or contract with any other person or party granting that
party the right to vote part or all of such securities, or (2) having and continually
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 exercising the contractual   power presently      to designate   a majority of the directors of
 Franchisee.

           12.4 "Interest" shall mean: when
                                          referring to interests or rights in Franchisee,
any shares of Franchisee's stock and any other equitable or legal right in or to any of
Franchisee's stock, revenues, profits or assets; when referring to rights or assets of
Franchisee, Franchisee's rights under and interest in this Agreement, the Restaurant
and its revenues, profits and assets.

           12.5 (a) The Interest of a Principal Shareholder may be transferred to such
Principal Shareholder's spouse or children or to a person designated in such Principal
Shareholder's will or trust (individually and collectively referred to as a "Successor" ),
upon such Principal Shareholder's death or permanent incapacity, without Franchisor's
approval, provided that such Successor shall agree to be bound by the restrictions
contained in this Section 12, and the other agreements and covenants of the Principal
Shareholders contained in this Agreement.

              (b)   The Interest of a Principal Shareholder may not be transferred to
another Principal Shareholder without Franchisor's approval, which approval shall not
be unreasonably withheld.

              (c)    The Interest of a Successor may only be transferred in accordance
with Subsection 12.5(b), 12.6, 12.7 or 12.8, regardless of whether such Transfer is for
consideration or by gift or will or other device.

        12.6 If at any time any of the Principal Shareholders desires to dispose of all or
substantially all of the Interests of the Principal Shareholder(s) in Franchisee, or any of
the Principal Shareholders (or Franchisee) desires to dispose of all or substantially all of
Franchisee's Interest in this Agreement or in the assets which Franchisee has acquired
as a result of this Agreement, the Principal Shareholder(s) or Franchisee, as the case
may be, shall notify Franchisor of that desire, in writing, thirty(30) days before
announcing that fact publicly or engaging the services of a broker or sales agent.

         12.7     (a) If at any time any of the Principal Shareholders or Franchisee, as
the case may be, obtains from a third party or third parties a bona fide offer (the "Offer" )
in writing for the purchase of all or substantially    all of the Interests of the Principal
Shareholders in Franchisee, or of Franchisee's Interest in this Agreement or in the
assets which Franchisee has acquired as a result of this Agreement, the Principal
Shareholders or Franchisee shall give notice (the "Selling Notice" ) to Franchisor stating
that the Principal Shareholders or Franchisee, as the case may be, have received the
Offer, identifying the prospective purchaser by name and address, specifying the
proposed purchase price and attaching a true and complete copy of the Offer, including
all relevant materials required for approval by Franchisor.


                  (b) Franchisor shall have an option to purchase (the "Option" ),
exercisable within a period of forty-five (45) days after receipt of the Selling Notice (the
"Option Period" ), such Interests at the price and on the conditions set forth in the Offer,
except that Franchisor shall not be obligated to pay any finder's or broker's fee, and if
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the Offer provides for payment of consideration other than cash, or if the Offer involves
certain intangible benefits, Franchisor may elect to purchase such Interests by offering a
reasonable dollar value substitute for the non-cash/intangible    benefits part of the Offer.
Notwithstanding    the foregoing, if Franchisor exercises the Option, Franchisor (a) will be
entitled to receive representations     and warranties from Franchisee and the Principal
Shareholders, jointly and severally, that are customarily received by purchasers in
similar transactions and (b) will be permitted to not close if it is not satisfied with the
results of its business, legal and financial due diligence.

                 (c)   The Option shall be exercisable by Franchisor delivering to the
Principal Shareholders or Franchisee, as the case may be, within the Option Period, a
notice (i) stating that the Option is being exercised, and (ii) specifying the time, date and
place at which such purchase and sale will take place, which date shall be within
forty-five(45) days after Franchisor delivers such notice. Franchisee shall provide
Franchisor access to and copies of such information and documentation Franchisor
shall request regarding the purchase prior to the start of the Option Period.             The
forty-five (45) day limitation for purposes of determining the sale date shall not apply if
at the end of said forty-five (45) day period the only issue which prevents completion of
the purchase and sale is the need to effect transfers of the applicable liquor licenses. In
the event of such a delay, the purchase and sale shall take place within ten (10) days
after those liquor licenses have been transferred.

               (d)    If the Option   is not exercised, the Principal Shareholders     or
Franchisee, as the case may be, may sell the Interests in or of Franchisee to the third
party which made the Offer, on conditions no more favorable to the third-party offerer
than those set forth in the Offer, provided that Franchisor approves the proposed
transferee in accordance with the criteria set forth in Appendix B and provided further
that such sale takes place within ninety(90) days after the expiration of the Option
Period. The ninety(90) day limitation described in the preceding sentence shall not
apply if at the end of said ninety (90) day period the issue which prevents completion of
the purchase and sale is either the need to effect transfers of the applicable liquor
licenses or consent or approval of the transaction by a state or federal regulatory
agency. In the event of such a delay, the purchase and sale shall take place within ten
(10) days after those issues have been resolved or waived by Franchisor.

               (e)   If the Option  is not exercised, the Principal Shareholders        or
Franchisee, as the case may be, shall immediately notify Franchisor in writing of any
change in the terms of an Offer. Any change in the terms of an Offer shall cause it to be
deemed a new Offer, conferring upon Franchisor a new Option pursuant to this
Subsection 12.7; the Option Period with respect to the new Option shall be deemed to
commence on the day on which Franchisor receives written notice of a change in the
terms of the original Offer. Provided however, in such an instance, Franchisor shall
provide Franchisee its response within fifteen (15) days after Franchisor's receipt of all
of the modified terms, unless such changes are deemed material by Franchisor and in
such an event, Franchisor shall have a forty-five (45) day period within which to review
said changes.


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       12.8     (a) Franchisee understands     and acknowledges that the rights and
duties set forth in this Agreement are personal to Franchisee and that Franchisor has
entered into this Agreement in reliance on the business skill and financial capability of
 Franchisee, and the business skill, financial capability and personal character of each
Principal Shareholder.       Except as otherwise provided in this Section 12, the Principal
Shareholders shall at all times retain control of Franchisee.           Except as otherwise
provided in this Section 12, no Transfer of any part of Franchisee's Interest in this
Agreement or in the Restaurant, and no Transfer of any Interest of any Principal
Shareholder, shall be completed except in accordance with this Subsection 12.8. In the
event of such a proposed Transfer of any part of Franchisee's Interest in this Agreement
or in the Restaurant, or of any Interest of any Principal Shareholder, the party or parties
desiring to effect such Transfer shall give Franchisor notice in writing of the proposed
Transfer, which notice shall set forth the name and address of the proposed transferee,
its financial condition, including a copy of its financial statement dated not more than
ninety (90) days prior to the date of said notice, and all the terms and conditions of the
proposed Transfer.         Upon receiving such notice, Franchisor may (i) approve the
Transfer, or (ii) withhold its consent to the Transfer.       Franchisor shall, within forty-
five (45) days of receiving such notice and all of the information             requested by
Franchisor regarding the proposed Transfer and the parties thereto, advise the party or
parties desiring to effect the Transfer whether it (1) approves the Transfer, or
(2) withholds its consent to the Transfer, giving the reasons for such disapproval.
Failure of Franchisor to so advise said party or parties within that forty-five (45) day
period shall be deemed to be an approval of the proposed Transfer. Appendix B sets
forth the criteria for obtaining Franchisor's consent to a proposed Transfer.

               (b)     In the event that Franchisor    approves the Transfer, and the
Transfer is not completed within ninety (90) days of the later of (i) expiration of the forty-
five (45) day notice period, or (ii) delivery of notice of Franchisor's approval of the
proposed Transfer, Franchisor's approval of the proposed Transfer shall automatically
be revoked. The ninety (90) day limitation described in the preceding sentence shall not
apply if at the end of said ninety(90) day period the only issue which prevents
completion of the Transfer is the need to effect transfers of the applicable liquor
licenses. In the event of such a delay, the Transfer shall take place within ten (10) days
after those liquor licenses have been transferred. Any subsequent proposal to complete
the proposed Transfer shall be subject to Franchisor's right of approval as provided
herein. The party which desires to effect the proposed Transfer shall immediately notify
Franchisor in writing of any change in the terms of a Transfer. Any change in the terms
of a Transfer prior to closing shall cause it to be deemed a new Transfer, revoking any
approval previously given by Franchisor and conferring upon Franchisor a new right to
approve such Transfer, which shall be deemed to commence on the day on which
Franchisor receives written notice of such changes in terms.

        12.9 In connection with any request for Franchisor's approval of a proposed
Transfer pursuant to this Section 12, the parties to the proposed Transfer shall pay
Franchisor a non-accountable      fee to defray the actual cost of review and the
administrative  and professional expenses related to the proposed Transfer and the
preparation and execution of documents and agreements of two thousand five hundred
dollars ($2, 500). For purposes of clarification, the transfer fee reflected in the preceding
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sentence relates to this Agreement only and does not limit the ability of Franchisor to
charge fees in connection with other franchise agreements involved in the Transfer.

 13.       CONFIDENTIALITY; RESTRICTIONS

          13.1 Franchisee and its Principal Shareholders acknowledge that over the term
of this Agreement they are to receive proprietary information which Franchisor or its
affiliates have acquired or developed over time at great expense, including, but not
limited to, information regarding the System, methods of site selection, marketing and
public relations methods, product analysis and selection, and service methods and skills
relating to the development and operation of restaurants. They further acknowledge that
this information, which includes, but is not necessarily limited to, that contained in the
Manuals, is not generally known in the industry and is beyond their own present skills
and experience, and that to develop it themselves would be expensive, time consuming
and difficult. Franchisee and its Principal Shareholders further acknowledge that such
information provides a competitive advantage and will be valuable to them in the
development of their business, and that gaining access to it is therefore a primary
reason why they are entering into this Agreement. Accordingly, Franchisee and its
Principal Shareholders agree that such information, as described above, which may or
may not be "trade secrets" under prevailing judicial interpretations or statutes, is private
and valuable, and constitutes trade secrets belonging to Franchisor or its affiliates.
Accordingly, in consideration of Franchisor's confidential disclosure to them of these
trade secrets, Franchisee and Principal Shareholders agree as follows (subject to the
provisions of the Development Agreement and any other franchise agreement between
Franchisor and Franchisee):

               (a) During the term of this Agreement, neither Franchisee nor any Principal
       Shareholder, for so long as such Principal Shareholder owns an Interest in
       Franchisee, may, without the prior written consent of Franchisor, directly or
       indirectly engage in, or acquire any financial or beneficial interest (including any
       interest in corporations, partnerships, trusts, unincorporated associations or joint
       ventures) in, advise, help, guarantee loans or make loans to, any restaurant
       business whose menu or method of operation is similar to that employed by
       restaurant units within the System which is either (i) located in the Territory, as
       defined in the Development Agreement, (ii) located in the Area of Dominant
       Influence (as defined and established from time to time by Arbitron Ratings
       Company) of any restaurant developed pursuant to the Development Agreement,
       (iii) located within a five (5) mile radius of any restaurant unit within the System, or
       (iv) determined by Franchisor, exercising reasonable good faith judgment, to be a
       direct competitor of the System.

             (b) Neither Franchisee, for two(2) years following the termination of this
       Agreement,    nor any Principal Shareholder,      for two (2) years following the
       termination of all of his or her Interest in Franchisee or the termination of this
       Agreement, whichever occurs first, may directly or indirectly engage in, or acquire
       any financial or beneficial interest (including      any interest in corporations,
       partnerships, trusts, unincorporated associations or joint ventures) in, advise, help,
       guarantee loans or make loans to, any restaurant business whose menu or method
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       of operation is similar to that employed by restaurant units within the System which
       is located either (i) in the Territory, as defined in the Development Agreement,
       (ii) in the Area of Dominant Influence (as defined and established from time to time
       by Arbitron Ratings Company) of any restaurant          developed pursuant to the
       Development Agreement, (iii) within a five (5) mile radius of any restaurant unit
       within the System, or (iv) within any area for which an active, currently binding
       development agreement has been granted by Franchisor to another franchisee as
       of the date of the termination.

            (c) Neither Franchisee nor any Shareholder shall at any time (i) appropriate
      or use the trade secrets incorporated in the System, or any portion thereof, in any
      restaurant business which is not within the System, (ii) disclose or reveal any
      portion of the System to any person, other than to Franchisee's Restaurant
      employees as an incident of their training, (iii) acquire any right to use any name,
      mark or other intellectual property right which is or may be granted by this
      Agreement,    except in connection with the operation of the Restaurant, or
      (iv) communicate,  divulge or use for the benefit of any other person or entity any
      confidential information, knowledge or know-how of Franchisor or its affiliates
      concerning the methods of development or operation of a restaurant utilizing the
      System.

        13.2 Franchisee and Principal Shareholders agree that the provisions of this
Section 13 are and have been a primary inducement to Franchisor to enter into this
Agreement, and that in the event of breach thereof Franchisor would be irreparably
injured and would be without adequate remedy at law. Therefore, in the event of a
breach, or a threatened or attempted breach, of any of such provisions Franchisor shall
be entitled, in addition to any other remedies which it may have hereunder or at law or
in equity (including    the right to terminate this Agreement), to a preliminary and/or
permanent injunction and a decree for specific performance of the terms hereof without
the necessity of showing actual or threatened damage, and without being required to
furnish a bond or other security.

        13.3 The restrictions contained in Subsection 13.1(a) and (b) above shall not
apply to ownership of less than two percent (2%) of the shares of a company whose
shares are listed and traded on a national securities exchange if such shares are owned
for investment only, and are not owned by an officer, director, employee, or consultant
of such publicly traded company.

        13.4 If any court or other tribunal having jurisdiction to determine the validity or
enforceability of this Section 13 determines that it would be invalid or unenforceable as
written, then the provisions hereof shall be deemed to be modified or limited to such
extent or in such manner as necessary for such provisions to be valid and enforceable
to the greatest extent possible.

        13.5 Franchisee shall require the General Manager, the Kitchen Manager and
each of its Restaurant managers to execute a confidentiality agreement in the form
attached hereto as Appendix C. Franchisee shall be responsible for compliance of its
employees with the agreements identified in this Subsection.
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14.        INSPECTIONS

           14.1
              Franchisor shall have the right at any time, and from time to time, to have
its representatives  enter the Restaurant premises without notice for the purpose of
inspecting the condition thereof and the operation of the Restaurant in order to
determine whether Franchisee is in compliance with the standards, specifications,
requirements and instructions contained in this Agreement and in the Manuals, and for
any other reasonable purpose connected with the operation of the Restaurant.

           14.2 Without   limiting the generality    of Subsection 14.1, a representative of
Franchisor shall be present in the Restaurant to consult with Franchisee or its General
Manager from time to time and, at least semi-annually, a representative shall conduct
an inspection/consultation       at the Restaurant (which may be conducted with or without
notice). During such inspection, Franchisor's representative will inspect the condition of
the Restaurant and observe procedures and operations at the Restaurant. Also during
the inspection/consultation,        Franchisor's representative  will meet with the General
Manager and such other Restaurant employees as Franchisor's representative may
designate, for the purpose of evaluating the condition and operation of the Restaurant
and seeking to maintain or achieve compliance with the standards, specifications,
requirements and instructions contained in this Agreement and in the Manuals.

         14.3 Without      limiting  the generality    of Subsection 14.1, Franchisor's
 representatives shall have the right at all times during normal business hours to confer
with Restaurant employees and customers, and to inspect Franchisee's books, records
and tax returns, or such portions thereof as pertain to the operation of the Restaurant.
All such books, records and tax returns shall be kept and maintained        at the principal
executive offices of Franchisee or such other place as may be agreed upon by the
parties in writing. If any inspection reveals that the gross sales reported in any report or
statement are less than the actual gross sales ascertained by such inspection, then the
 Franchisee shall immediately pay Franchisor the additional amount of fees owing by
 reason of the understatement of gross sales previously reported, together with interest
as provided in Subsection 9.2. In the event that any report or statement understates
gross sales by more than three percent (3%) of the actual gross sales ascertained by
Franchisor's inspection, Franchisee shall, in addition to making the payment provided
for in the immediately preceding sentence, pay and reimburse Franchisor for any and all
expenses incurred in connection with its inspection, including, but not limited to,
reasonable accounting and legal fees. Such payments shall be without prejudice to any
other rights or remedies which Franchisor may have under this Agreement or otherwise.
If any inspection   reveals that the gross sales reported in any report or statement are
greater than the actual gross sales ascertained by such inspection, and that Franchisee
thereby has made an overpayment of fees, the amount of the overpayment (without
interest) shall be offset against future fees owing by Franchisee to Franchisor.

        14.4 Franchisee shall maintain an accurate stock register. In the event that the
beneficial ownership of Franchisee's stock differs in any respect from record ownership,
Franchisee also shall maintain a list of the names, addresses and interests of all
beneficial owners of its stock. Franchisee shall produce its stock register, and any list of
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beneficial owners certified by the corporation's secretary to be correct, at its principal
executive offices upon ten (10) days prior written request by Franchisor. Franchisor's
representatives    shall have the right to examine the stock register and any list of
beneficial owners, and to reproduce all or any part thereof. Further, upon ten (10) days
written notice, Franchisor may request a copy of the list of stockholders and owners of
beneficial interests to be forwarded to it at Franchisor's principal office.

15.        RELATIONSHIP OF PARTIES AND INDEMNIFICATION

           15.1  Franchisee is not, and shall not represent or hold itself out as, an agent,
legal representative, joint venturer, partner, employee or servant of Franchisor for any
purpose whatsoever and, where permitted by law to do so, shall file a business
certificate to such effect with the proper recording authorities.         Franchisee is an
independent    contractor and is not authorized to make any contract, agreement,
warranty or representation on behalf of Franchisor, or to create any obligation, express
or implied, on behalf of Franchisor. Franchisee agrees that Franchisor does not have
any fiduciary obligation to Franchisee. Franchisee shall not use the name Applebee's
Neighborhood      Grill 8 Bar (other than     in connection  with the operation       of the
Restaurant), or Applebee's, or any similar words as part of or in association with any
trade name of any business entity which is, directly or indirectly, associated with
Franchisee.

         15.2     Franchisee shall indemnify and hold harmless Franchisor and its
officers, directors, employees, agents, affiliates, successors and assigns from and
against (a) any and all claims based upon, arising out of, or in any way related to the
operation or condition of any part of the Restaurant or Restaurant premises, the conduct
of business thereat, the ownership or possession of real or personal property, and any
negligent act, misfeasance or nonfeasance           by Franchisee or any of its agents,
contractors, servants, employees or licensees (including, without limitation, the
performance by Franchisee of any act required by, or performed pursuant to, any
provision of this Agreement), and (b) any and all fees (including reasonable attorneys'
fees), costs and other expenses incurred by or on behalf of Franchisor in the
investigation   of or defense against any and all such claims.        Without limiting the
generality of the foregoing, Franchisee will satisfy the obligations set forth in this
paragraph without regard to any acts or omissions, real or alleged, of Franchisor or its
officers, directors, employees, agents, affiliates, successors and assigns.

           15.3            to, and not in limitation of, any subsection hereof, Franchisee
                  In addition
specifically covenants, represents and warrants that Franchisee is in compliance in all
material respects with all federal, state, municipal and local laws governing the
generation, use or disposal of hazardous waste or hazardous materials, and any and all
other laws designed to protect the environment and that:

            (a) There have been no past, and there are no current or anticipated,
      releases or substantial threats of a release of a hazardous substance, pollutant or
      contaminant   from or onto the Restaurant       or real property upon which the
      Restaurant is located and referred to in this Agreement ("Premises" ) which is or
      may be subject to regulation under the Comprehensive Environmental Response,
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      Compensation and Liability Act (42 U. S.C. 9601, et seq. ) or other laws designed
      to protect the environment;

           (b) The Premises have not previously been used, are not now being used
      and are not contemplated to be used for the treatment, collection, storage or
      disposal of any refuse or objectionable waste so as to require a permit or approval
      from the Environmental   Protection Agency pursuant to the Hazardous and Solid
      Waste Amendments of 1984 (96 Stat. 3221) or any other federal, state, county or
      municipal agency charged with the responsibility of protecting the environment;

            (c) The Premises have not previously been used, are not now being used,
      and are not contemplated to be used, for the generation, transportation, treatment,
      storage or disposal of any hazardous waste;

           (d) No portion of the Premises are located on or over a "sanitary landfill" or
      an "open dump" within the meaning of the Resource Conservation and Recovery
      Act (42 U. S.C. 6941 et seq. ), as amended by the Hazardous and Solid Waste
      Amendments of 1984 (96 Stat. 3221);

           (e)   No asbestos fibers or materials   or polychlorinated     biphenyls   (PCB's) are
      on or in the Premises;

           (f)  There have not been, nor are there presently pending, any federal or
      state enforcement actions against the Premises, nor is the Franchisee or its
      Landlord, if any, subject to any outstanding administrative orders which require
      ongoing compliance efforts in connection with compliance with laws designed to
      protect the environment;

            (g) The Franchisee     has not entered into any consent decrees                    or
      administrative consent orders with any agency charged with the responsibility            of
      protecting the environment;

           (h) There have not been any notices of violation             sent to the Franchisee
      under the Citizens Suit Provisions of any statute;

           (i)   The Franchisee has not received any request for information, notice or
      demand letters for administrative      inquiries from any governmental entity with
      regard to its environmental practices;

           (j)  The Franchisee has maintained all required records under each and
      every applicable environmental      statute and is in full compliance with all
      environmental permits issued to it by any governmental or regulatory agency;

           (k)   The Franchisee maintains all insurance     policies as may be required        by
      any applicable law governing the environment;



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              (I)   The  Franchisee has no reason to believe that any operation of
       equipment     on or at the Premises may be the cause of a future spill or release of a
       pollutant;

             (m) The Franchisee has not in the past, nor is it presently, generating,
       transporting  or disposing   of a hazardous     substance     as defined by
       Section 9601(12) of CERCLA; and

            (n) The Franchisor shall have the right, at Franchisee's expense, to require
       an environmental audit of the Premises from a company or companies satisfactory
       to Franchisor.

16. INSURANCE

           16.1     Franchisee  shall procure before the commencement          of Restaurant
operations, and shall maintain in full force and effect during the entire term of this
Agreement, at its sole cost and expense, an insurance policy or policies protecting
 Franchisee and Franchisor and their respective officers, directors and employees
against any and all claims, loss, liability or expense whatsoever, arising out of or in
connection with the condition, operation, use or occupancy of the Restaurant or
 Restaurant Premises. Franchisee shall procure workers' compensation coverage for
each of its employees no later than the first date of such employee's employment.
Franchisee shall also insure the Restaurant building and other improvements,
equipment, signs, interior and exterior decor items, furnishings and fixtures, and any
additions thereto, in accordance with standard fire and extended coverage insurance
policies then in effect for similar businesses.       Franchisor and such of Franchisor's
affiliates as may be specified by Franchisor from time to time shall be named as an
additional insured in all such policies, workers' compensation            excepted, and the
certificate or certificates of insurance shall state that the policy or policies shall not be
subject to cancellation or alteration without at least thirty (30) days prior written notice to
Franchisor. Such policy or policies shall be written by a responsible insurance company
or companies satisfactory to Franchisor, and shall be in such form and contain such
limits of liability and other required insurance as shall be satisfactory to Franchisor from
time to time. In any event, such policy or policies shall include at least the following for
the year 2015:

      KIND OF INSURANCE                         MINIMUM LIMITS OF LIABILITY

      Workers' Compensation

      Employer's    Liability



     General Public Liability,
     including Product Liability,
     Injury and Liquor Liability

     Fire and Extended Coverage
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      including     (a) Business Interruption

      and (b) Service Interruption

      Umbrella Liability Insurance

       Franchisee shall provide certificates of such insurance to Franchisor prior to the
opening of the Restaurant and at the time of each policy renewal. Upon request,
Franchisee shall provide copies of each insurance policy to Franchisor. The insurance
afforded by the policy or policies respecting public liability shall not be limited in any way
by reason of any insurance which may be maintained by Franchisor or its affiliates. The
insurance provisions of this Agreement may be supplemented from time to time through
written notice by Franchisor.

           16.2        sixty (60) days after the execution of this Agreement, but in no
                    Within
event later than the day before the Restaurant opens for business, Franchisee shall
submit to Franchisor for approval certificates of insurance showing compliance with the
requirements   of Subsection 16.1. Notwithstanding       the foregoing, Franchisee shall
submit to Franchisor for approval certificates of insurance showing compliance with the
worker's compensation requirements set forth in Subsection 16.1 prior to the training of
any Franchisee employee at a Restaurant operated by Franchisor.           Maintenance of
such insurance and the performance by Franchisee of its obligations under this
Section 16 shall not relieve Franchisee of liability under the indemnity provisions of this
Agreement, and shall not limit such liability.

           16.3 Should         Franchisee,
                                    for any reason, fail to procure or maintain the
insurance  coverage required by this Section, then Franchisor shall have the right and
authority to immediately procure such insurance coverage and to charge the cost
thereof to Franchisee, which amounts shall be paid immediately upon notice and shall
be subject to charges for late payments in the manner set forth in Subsection 9.2.

           16.4                            days following Franchisee's receipt of same,
                     No later than thirty(30)
Franchisee                                 a copy of any written report relating to the
                  shall submit to Franchisor
condition of the Restaurant premises, or any aspect thereof, prepared by an insurer or
prospective insurer or by a representative of a federal, state or local government
agency, provided that if any such report contains comments or information which could
materially and detrimentally   affect the Restaurant, such report shall be submitted to
Franchisor within three (3) days following Franchisee's receipt thereof.

17.        DEBTS AND TAXES

      Franchisee         pay or cause to be paid promptly when due all obligations
                       shall
incurred, directly or indirectly, in connection with the Restaurant and its operation,
including, without limitation, (a) all taxes and assessments      that may be assessed
against the Restaurant land, building and other improvements,         equipment, fixtures,
signs, furnishings, and other property; (b) all debts or other sums secured by liens and
encumbrances of every kind and character created or placed upon or against any of
said property, and; (c) all accounts and other indebtedness of every kind and character
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incurred by or on behalf of Franchisee in the conduct of the Restaurant business.
Notwithstanding   the foregoing, Franchisee will not be in default of this Agreement as a
result of a non-payment or non-performance of the foregoing so long as it disputes said
debt or lien and is, in the sole opinion of Franchisor, validly and in good faith pursuing a
resolution of said claim or lien and has reserved sufficient sums to pay the debt/claim as
is agreed to by Franchisor.

18.        TRADE NAMES, SERVICE MARKS AND TRADEMARKS

          18.1    Franchisee acknowledges the sole and exclusive right of Franchisor and
its affiliates (except for rights granted under existing and future franchise agreements) to
use the Marks in connection with the products and services to which they are or may be
applied by Franchisor or its affiliates, and represents, warrants and agrees that
Franchisee shall not, either during the term of this Agreement, or after the expiration or
other termination hereof, directly or indirectly, contest or aid in contesting the validity,
ownership or use thereof by Franchisor or its affiliates, or take any action whatsoever in
derogation of the rights claimed herein by Franchisor or its affiliates.

        18.2     The right granted to Franchisee under this Agreement to use the Marks
is nonexclusive, and Franchisor and its affiliates, in its or their sole discretion, subject
only to the limitations contained in Subsection 1.4 of this Agreement, have the right to
grant other rights in, to and under those names and marks in addition to those rights
already granted, and to develop and grant rights in other names and marks on any such
terms and conditions as Franchisor or its affiliates deem appropriate.            The rights
granted under this Agreement do not include any right or authority of any kind
whatsoever to pre-package or sell pre-packaged food products, under any of the Marks,
or any menu items approved for sale at the Restaurant, whether at the Restaurant, on
the Internet, or at any other location, including grocery stores.

           18.3   Franchisee understands and acknowledges and agrees that Franchisor
has the unrestricted right, subject only to the limitations contained in Subsection 1.4 of
this Agreement,        to engage,    directly and indirectly,     through  its employees,
 representatives,   licenses, assigns, agents, affiliates, subsidiaries and others, at
wholesale, retail, and otherwise, in (a) the production, distribution and sale of products
under the Marks or other names or marks, (b) the use, in connection with such
production, distribution and sale, of any and all trademarks, trade names, service
marks, logos, insignia, slogans, emblems, symbols, designs and other identifying
characteristics as may be developed or used, from time to time, by Franchisor or its
affiliated companies with respect to the System or otherwise, and (c) the production,
distribution and sale of products through another restaurant or restaurants which do not
utilize the System or the Applebee's Neighborhood Grill & Bar service mark and which
otherwise compete or might compete with the Restaurant. Further, Franchisee agrees
that ownership of any trademarks, service marks or other insignia, symbols, designs or
slogans used in development and promotion of any products or menu items, including
any general promotion or concept not tied to a specific product, and all recipes and
copyrighted material, whether such development           was instituted at the request or
suggestion of Franchisee or Franchisor, and whether such development was done in
collaboration with Franchisor or done independently by Franchisee, shall, as between
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Franchisor and Franchisee, be the sole and exclusive property of Franchisor. Any
goodwill engendered by the trademarks, service marks, insignia, symbols, designs or
slogans used shall inure to the benefit of Franchisor and its affiliated companies whose
ownership shall be sole and exclusive.

        18.4       Nothing contained in this Agreement shall be construed to vest in
Franchisee any right, title or interest in or to any of Franchisor's names or the Marks, the
goodwill now or hereafter associated therewith, or any right in the design of any
restaurant building or premises, or the decor or trade-dress of the Restaurant, other
than the rights and license expressly granted herein for the term hereof. Any and all
goodwill associated with or identified by any of Franchisor's names or the Marks shall
inure directly and exclusively to the benefit of Franchisor and its affiliates, including,
without   limitation,    any goodwill resulting    from operation    and promotion   of the
Restaurant, provided that this Subsection shall not be construed to entitle Franchisor to
receive any portion of the consideration paid to Franchisee and/or any Principal
Shareholder as a result of a Transfer of an Interest pursuant to Section 12 hereof.

           18.5  Franchisee shall adopt and use each of the Marks only in a manner
expressly approved by Franchisor, and shall not use any of the Marks in connection
with any statement or material which may, in the judgment of Franchisor, be in bad taste
or inconsistent with Franchisor's public image, or tend to bring disparagement, ridicule
or scorn upon Franchisor, any of the Marks, or the goodwill associated therewith.
Franchisee shall not adopt, use or register as its corporate name (by filing a certificate
or articles of incorporation or otherwise) any trade or business name, style or design
which includes, or is similar to, any of Marks, logos, insignia, slogans, emblems,
symbols, designs or other identifying characteristics. Franchisee has no right, license or
authority to use any of the Marks on or in connection with the Internet, except as stated
in and permitted by this Section 18.5. Without limiting the foregoing, Franchisee shall
not use any of the Marks in any Internet domain name or URL or use any Internet
domain name or URL that may be confusingly similar to one or more of the Marks.
Franchisee shall not display or use any of the Marks or other of Franchisor's intellectual
property in connection with, or associate the System with (through a link or otherwise)
any web site advertising, address, or listing on the World Wide Web or any other portion
of the Internet without Franchisor's prior written consent. Franchisee shall submit for
Franchisor's approval any Internet domain name, URL or Internet e-mail address
Franchisee intends to use in connection with the Restaurant.

           18.6 Franchisor shall have the right, at any time and from time to time, upon
notice to Franchisee, to make additions to, deletions from and changes in any of the
Marks, or all of them, all of which additions, deletions and changes shall be made in
good faith, on a reasonable basis and with a view toward the overall best interests of
the System.

           18.7  Franchisee agrees to notify Franchisor promptly in writing of any suit or
claim for infringement relating to the marks. Subject to the terms and conditions of this
Subsection 18.7, Franchisor and its affiliates shall have the sole right to defend or settle
any such suit or claim of infringement        at Franchisor's or its affiliates' expense.
Franchisee, at Franchisee's expense, shall have the right to be represented by counsel.
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Franchisor or its affiliates shall, however, retain control of any negotiations with respect
to such claim or of any litigation involving such suit. Franchisee agrees to cooperate
with Franchisor and its affiliates and to assist Franchisor and its affiliates' whenever
reasonably requested by them, at Franchisor's and its affiliates' expense, in the defense
of any such infringement suit or claim.

           18.8
              Franchisor represents that      it   is the sole owner   of the service mark
Applebee's Neighborhood Grill 8 Bar.

19. EXPIRATION AND TERMINATION;                  OPTION TO PURCHASE RESTAURANT;
ATTORNEYS' FEES

           19.1Franchisor shall have the right to terminate this Agreement      immediately
upon written notice to Franchisee stating the reason for such termination:

           (a) in the event of any breach or default of any of the provisions             of
      Subsection 9.1, Sections 12 or 13, Subsection 14.1 or Section 23;

            (b) if a petition in bankruptcy, an arrangement for the benefit of creditors, or
      a petition for reorganization is filed by Franchisee, or is filed against Franchisee
      and not dismissed within ninety (90) days from the filing thereof, or if Franchisee
      shall make any assignment for the benefit of creditors, or if a receiver or trustee is
      appointed for Franchisee and is not dismissed within ninety(90) days of such
      appointment;

            (c) if Franchisee ceases to operate the Restaurant without the prior written
      consent of Franchisor or loses its right to possession of the Restaurant premises;
      provided however, this provision will not apply if Franchisee ceases to operate the
      Restaurant or loses its right to possession of the Restaurant premises by reason of
      Force Majeure and Franchisee complies with the requirements of Section 24 of this
      Agreement;
            (d) if Franchisor discovers that Franchisee        has made any material
      misrepresentation   or omitted any material fact in the information which was
      furnished to Franchisor in connection with this Agreement;

                (e) any part of this Agreement
                      if                        relating to the payment of fees to
      Franchisor, or the preservation of any of the Marks, trade secrets or secret
      formulae licensed or disclosed hereunder is, for any reason, declared invalid or
      unenforceable; or

           (f)  if Franchisee or any Principal Shareholder is convicted of or pleads nolo
      contendere to a felony or any crime involving moral turpitude.

           If   Franchisee
                      defaults in the performance or observance of any of its other
obligations hereunder, and such default continues for a period of sixty (60) days after
written notice to Franchisee specifying such default, Franchisor shall have the right to
terminate this Agreement upon thirty(30) days written notice to Franchisee.            If
Franchisee defaults in the performance or observance of the same obligation two (2) or
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more times within a twelve(12) month period, Franchisor shall have the right to
terminate this Agreement immediately upon commission of the second act of default,
upon thirty(30) days written notice to Franchisee stating the reason for such
termination, without allowance for any curative period.

       The foregoing provisions of this Subsection 19.1 are subject to the provisions of
any local statutes or regulations which limit the grounds upon which Franchisor may
terminate this Agreement, or which require that Franchisor give Franchisee additional
prior written notice of termination and opportunity to cure any default.

           19.2       Upon the termination of this Agreement by Franchisor, Franchisee may
not remove          any property from the Restaurant premises for thirty(30) days after the
termination.        Upon the expiration or earlier termination of this Agreement for any reason:

            (a) Franchisee shall immediately discontinue its use of the System and its
       use of the Marks and other identifying characteristics;

              (b)     if the   Restaurant
                                  premises are owned by Franchisee or leased from a
      third party, Franchisee shall, upon demand   by Franchisor, remove (at Franchisee's
      expense) the Marks, sign facia, and other identifying characteristics from all
      premises, and paint all premises and other improvements maintained pursuant to
      this Agreement a design and color which is basically different from Franchisor's
      authorized design and color. If Franchisee shall fail to make or cause to be made
      any such removal or repainting within thirty(30) days after written notice, then
      Franchisor shall have the right to enter upon the Restaurant premises, without
      being deemed guilty of trespass or any tort (or Franchisee shall cause Franchisor
      to be permitted on the premises as necessary), and make or cause to be made
      such removal, alterations and repainting at the reasonable expense of Franchisee,
      which expense Franchisee shall pay to Franchisor immediately upon demand; and

             (c) Franchisee shall not thereafter use the Marks or any other trademark,
      trade name, service mark, logo, insignia, slogan, emblem, symbol, design or other
      identifying characteristic that is in any way associated with Franchisor or similar to
      those associated with Franchisor, or use any food or proprietary menu item, recipe
      or method of food preparation or operate or do business under any name or in any
      manner that might tend to give the public the impression that Franchisee is or was
      a licensee or franchisee of, or otherwise associated with, Franchisor or its affiliated
      companies.

           19.3     the event that any party to this Agreement initiates any legal
                      In
proceeding to construe or enforce any of the terms, conditions and/or provisions of this
Agreement, including, but not limited to, its termination provisions and its provisions
requiring Franchisee to make certain payments to Franchisor incident to the operation
of the Restaurant, or to obtain damages or other relief to which any such party may be
entitled by virtue of this Agreement, the prevailing party or parties shall be paid its
reasonable attorneys' fees and expenses by the other party or parties. If Franchisee
fails to comply with a written notice of termination sent by Franchisor and a court later
upholds such termination of this Agreement, Franchisee's operation of the Restaurant,
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from and after the date of termination stated in such notice, shall constitute willful
trademark infringement and unfair competition by Franchisee, and Franchisee shall be
liable to Franchisor for damages resulting from such infringement in addition to any fees
paid or payable hereunder, including, without limitation, any profits which Franchisee
derived from such post-termination operation of the Restaurant.

           19.4     (a)   With respect to Restaurant
                                                  premises owned by Franchisee, in the
event of termination of this Agreement, Franchisor shall have, for thirty (30) days after
the termination is effective, an option, exercisable upon written notice to Franchisee
within such thirty (30) day period, to elect to purchase the Restaurant premises from
Franchisee for the fair market value of the land and buildings, furnishings and
equipment located therein.

               (b)    In addition to the option described above, Franchisor shall have an
option,   exercisable   upon written notice to Franchisee, to elect to purchase the
Restaurant premises from Franchisee upon expiration of this Agreement for the fair
market value of the land and buildings, furnishings, and equipment located therein
subject to Franchisee's option to operate the Restaurant for an additional term under
Subsection 1.3 hereof.         If Franchisee   does not notify Franchisor, pursuant to
Subsection 1.3 hereof, of a desire to operate the Restaurant for an additional term, then
Franchisor shall provide the written notice described in the preceding sentence within
thirty (30) days after the latest date by which Franchisee is required by Subsection 1.3
to advise Franchisor of such a desire; if Franchisee does notify Franchisor of a desire to
operate the Restaurant for an additional term and Franchisor determines that
Franchisee is not eligible to do so, Franchisor shall provide the written notice described
in the preceding sentence within thirty (30) days of its written notice to Franchisee that
Franchisee is not eligible to operate the Restaurant for such additional term. With
respect to the option to purchase upon expiration of this Agreement, this option shall not
apply if prior to thirty(30) days before said expiration, Franchisee enters into an
agreement to sell such Restaurant premises to a third party upon the expiration of the
Franchise Agreement, provided that Franchisee's agreement with the purchaser
includes a covenant by the purchaser, which is expressly enforceable by Franchisor as
a third-party beneficiary thereof, pursuant to which the purchaser agrees that, for a
period of twelve (12) months after the expiration of this Agreement, the purchaser shall
not use such premises for the operation of a restaurant business whose menu or
method of operation is similar to that employed by restaurant units within the System.

                  (c)     If Franchisee
                                     receives approval to operate the Restaurant premises
for an additional term in accordance with Subsection1. 3 hereof, Franchisee will be
required to execute the then-existing form of franchise agreement, which shall contain
an option to obtain assignment of Franchisee's lease with a third party and/or to
purchase certain property, exercisable by Franchisor upon termination thereof, and an
option to purchase the Restaurant premises, exercisable by Franchisor upon expiration
of the additional term (subject to any then-existing rights to renew of Franchisee). Such
options shall be substantially similar to the provisions described in this Subsection 19.4.

              (d)     If the parties cannot agree on the purchase price or other terms of
purchase within thirty (30) days following Franchisor's exercise of its option pursuant to
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Subsection 19.4(a) and (b), the price or disputed terms of purchase shall be determined
by three (3) appraisers, with each party selecting one (1) appraiser and the two (2)
appraisers, so chosen, selecting the third appraiser. In the event of such an appraisal,
each party shall bear its own legal and other costs and shall split equally the appraisal
fees. The appraisers' determination of the price and other disputed terms of purchase
shall be final and binding.

                    (e)  Franchisor elects to exercise its option to purchase upon
                           If
termination of this Agreement, the purchase price shall be paid within thirty (30) days of
the determination of the purchase price and other terms of purchase.             If Franchisor
elects to exercise its option to purchase upon expiration of this Agreement, the
purchase price shall be paid within thirty (30) days of the later of (a) the determination of
the purchase price and other terms of purchase, or (b) expiration of this Agreement. If
the Franchisor does not elect to exercise its option to purchase the Restaurant
premises, the Franchisee may sell such premises to a third party, provided that
Franchisee's agreement with the purchaser includes a covenant by the purchaser,
which is expressly enforceable by Franchisor as a third-party            beneficiary thereof,
pursuant to which the purchaser agrees that it shall not use such premises for the
operation of a restaurant business whose menu or method of operation is similar to that
employed by restaurant units within the System for a period of twelve (12) months after
the termination or expiration of this Agreement.

                 (f)   If the Restaurant  premises are leased by Franchisee from a third
party,   such   lease must   allow Franchisee to assign the lease to Franchisor.         Upon
termination of this Agreement for any reason, Franchisor has the right, exercisable upon
written notice to Franchisee within thirty(30) days after termination         is effective, to
require Franchisee to assign all Franchisee's rights and obligations under the lease to
Franchisor and to immediately surrender possession of the premises, including all
fixtures and leasehold improvements, to Franchisor. The lessor may not impose any
assignment fee or other similar charge on Franchisor in connection with such
assignment. If Franchisor exercises that right, it has an additional right, to be exercised
within thirty(30) days after taking possession of the premises, to purchase all of
Franchisee's equipment, signs, decor items, furnishings, supplies and other products
and materials at their then-fair market value. If the parties cannot agree on the price,
the price will be determined           in  the manner       set forth in connection with
Franchisee-owned Restaurant premises. If Franchisor elects not to purchase the items
mentioned      above, Franchisee shall, at Franchisee's          own expense and under
Franchisor's supervision remove those items from the premises within ten (10) days
after such final election, or ten (10) days after expiration of the option period, whichever
is earlier. If Franchisee fails to remove all such property from the premises within such
period, Franchisor shall be entitled to do so, or to authorize a third patty to do so, all at
Franchisee's expense.

           19.5      In addition   to the provisions contained   in Subsection   19.4 hereof:
              (a)    With respect to Restaurant
                                           premises owned by Franchisee, in the event
      of terminationof this Agreement and Franchisor's exercise of its option to purchase
      the Restaurant premises pursuant to Subsection 19.4(a) hereof, Franchisee shall
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       have, for ten (10) days after its receipt of written notice of Franchisor's election to
       purchase, an option, exercisable upon written notice to Franchisor, to lease said
       premises to Franchisor, pursuant to a lease which provides for rental at a rate not
       in excess of                    of gross sales and triple net terms. Said lease shall
       provide for a lease term of at least ten (10) years with two (2) five (5)-year options
       to renew, and for primary annual rent of not in excess of the number derived from
       multiplying                     times the gross sales reported by Franchisee to
       Franchisor for which Franchisee has paid a royalty fee for the next preceding
       calendar year times

             (b) In addition to the option described above, Franchisee shall have an
       option, exercisable upon written notice to Franchisor, to elect to lease the
       Restaurant premises to Franchisor upon expiration of this Agreement and
       Franchisor's exercise of its option to purchase the Restaurant premises pursuant
      to Subsection 19.4(b) hereof, pursuant to the same terms set forth in Subsection
       19.5(a) above, subject to Franchisee's option to operate the Restaurant for an
       additional term under Subsection 1.3 hereof.      If (i) Franchisee does not notify
       Franchisor, pursuant to Subsection 1.3 hereof, of a desire to operate the
       Restaurant for an additional term, or (ii) Franchisee does notify Franchisor of a
      desire to operate the Restaurant for an additional term and Franchisor determines
      that Franchisee is not eligible to do so, and Franchisor exercises its option to
      purchase the Restaurant premises, then Franchisee shall provide the written notice
      described in the preceding sentence within ten (10) days after its receipt of written
      notice of Franchisor's election to purchase. With respect to the option to lease
      upon expiration of this Agreement, this option shall not apply if prior to thirty (30)
      days before said expiration, Franchisee enters into an agreement to sell such
      Restaurant premises to a third party upon the expiration of the Franchise
      Agreement, provided that Franchisee's agreement with the purchaser includes a
      covenant by the purchaser, which is expressly enforceable by Franchisor as a
      third-party  beneficiary thereof, pursuant to which the purchaser agrees, at
      Franchisor's option, either to lease said premises to Franchisor upon the terms set
      forth in Subsection 19.5(a), or that for a period of twelve (12) months after the
      expiration of this Agreement, the purchaser shall not use such premises for the
      operation of a restaurant business whose menu or method of operation is similar to
      that employed by restaurant units within the System.

            (c) If Franchisee receives approval to operate the Restaurant premises for
      an additional term in accordance with Subsection 1.3 hereof, Franchisee will be
      required to execute the then-existing form of franchise agreement which shall
      contain an option to obtain assignment of Franchisee's lease with a third party
      and/or to lease certain property, exercisable by Franchisor upon termination
      thereof, and an option to lease the Restaurant premises, exercisable by Franchisor
      upon expiration of the additional term (subject to any then-existing rights to renew
      of Franchisee).    Such options shall be substantially similar to the provisions
      described in this Subsection 19.5.



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20.        NO WAIVER OF DEFAULT

           20. 1The waiver by any party to this Agreement of any breach or default, or
series of breaches or defaults, of any term, covenant or condition herein, or of any same
or similar term, covenant or condition contained in any other agreement between
Franchisor and any franchisee, shall not be deemed a waiver of any subsequent or
continuing breach or default of the same or any other term, covenant or condition
contained in this Agreement, or in any other agreement between Franchisor and any
franchisee.

         20.2    All rights and remedies of the parties hereto shall be cumulative and not
alternative, in addition to and not exclusive of any other rights or remedies which are
provided for herein or which may be available at law or in equity in case of any breach,
failure or default or threatened breach, failure or default of any term, provision or
condition of this Agreement. The rights and remedies of the parties hereto shall be
continuing and shall not be exhausted by any one (1) or more uses thereof, and may be
exercised at any time or from time to time as often as may be expedient; and any option
or election to enforce any such right or remedy may be exercised or taken at any time
and from time to time. The expiration or earlier termination of this Agreement shall not
discharge or release Franchisee or any Principal Shareholder from any liability or
obligation then accrued, or any liability or obligation continuing beyond, or arising out of,
the expiration or earlier termination of the Agreement.

21.        CONSTRUCTION, SEVERABILITY, GOVERNING LAW AND JURISDICTION

           21.1         part of this Agreement shall for any reason be declared invalid,
                   If any
unenforceable or impaired in any way, the validity of the remaining portions shall remain
in full force and effect as if the Agreement had been executed with such invalid portion
eliminated, and it is hereby declared the intention of the parties that they would have
executed the remaining portion of this Agreement without including therein any such
portions which might be declared invalid; provided however, that in the event any part
hereof relating to the payment of fees to Franchisor, or the preservation of any of
Franchisor's Marks, trade secrets or secret formulae licensed or disclosed hereunder is
for any reason declared invalid or unenforceable, then Franchisor shall have the right to
terminate this Agreement upon written notice to Franchisee. If any clause or provision
herein would be deemed invalid or unenforceable          as written, it shall be deemed
modified or limited to such extent or in such manner as may be necessary to render the
clause or provision valid and enforceable to the greatest extent possible in light of the
interest of the parties expressed in that clause or provision, subject to the provisions of
the preceding sentence.

           21.2
            FRANCHISEE AND PRINCIPAL SHAREHOLDERS ACKNOWLEDGE
THAT FRANCHISOR MAY GRANT NUMEROUS FRANCHISES THROUGHOUT THE
UNITED STATES ON TERMS AND CONDITIONS SIMILAR TO THOSE SET FORTH
IN THIS AGREEMENT, AND THAT IT IS OF MUTUAL BENEFIT TO FRANCHISEE
AND PRINCIPAL SHAREHOLDERS AND TO FRANCHISOR THAT THESE TERMS
AND CONDITIONS BE UNIFORMLY INTERPRETED. THEREFORE, THE PARTIES
AGREE THAT TO THE EXTENT THAT THE LAW OF THE STATE OF KANSAS
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DOES NOT CONFLICT WITH   LOCAL FRANCHISE STATUTES, RULES AND
REGULATIONS, KANSAS LAW SHALL APPLY TO THE CONSTRUCTION OF THIS
AGREEMENT AND SHALL GOVERN ALL QUESTIONS WHICH ARISE WITH
REFERENCE HERETO; PROVIDED HOWEVER, THAT PROVISIONS OF KANSAS
LAW REGARDING CONFLICTS OF LAW SHALL NOT APPLY HERETO.

           21.3
          THE PARTIES AGREE THAT ANY CLAIM, CONTROVERSY OR
DISPUTE ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
PERFORMANCE THEREOF WHICH CANNOT BE AMICABLY SETTLED, EXCEPT
AS OTHERWISE PROVIDED HEREIN WILL BE RESOLVED BY A PROCEEDING IN
A COURT IN JOHNSON COUNTY, KANSAS, AND FRANCHISEE AND PRINCIPAL
SHAREHOLDERS EACH IRREVOCABLY ACCEPT THE JURISDICTION OF THE
COURTS OF THE STATE OF KANSAS AND THE FEDERAL COURTS SERVING
JOHNSON COUNTY, KANSAS FOR SUCH CLAIMS, CONTROVERSIES OR
DISPUTES. EACH PARTY WAIVES ITS RIGHT TO A JURY TRIAL IN ANY COURT
ACTION ARISING AMONG THE PARTIES UNDER THIS AGREEMENT OR
OTHERWISE RELATED TO THIS AGREEMENT, WHETHER MADE BY CLAIM,
COUNTERCLAIM, THIRD PARTY CLAIM OR OTHERWISE.

       The parties agree that service of process in any proceeding arising out of or
relating to this Agreement or the performance thereof may be made as to Franchisee
and any Principal Shareholder by serving a person of suitable age and discretion (such
as the person in charge of the office) at the address of Franchisee specified in this
Agreement and as to Franchisor by serving the president or a vice-president of
Franchisor at the address of Franchisor or by serving Franchisor's registered agent.

22.        INTERFERENCE WITH EMPLOYMENT RELATIONS

         During the term of this Agreement,       neither Franchisor nor Franchisee shall
employ or seek to employ in a managerial position (i. e. , in a position at a pay grade at
or above that of Assistant Restaurant Manager or Kitchen Manager), directly or
indirectly, any person who is at the time or was at any time during the prior six (6)
months employed by the other party or any of its subsidiaries or affiliates, or by any
franchisee in the System. This section shall not be violated if, at the time Franchisor or
Franchisee employs or seeks to employ such person, such former employer has given
its written consent and is compensated           by receiving fifty percent (50%) of the
employee's annual salary from the other party. Notwithstanding any other provision of
this Agreement, the parties hereto acknowledge that if this Section is violated, such
former employer shall be entitled to liquidated damages equal to three (3) times the
annual salary of the employee involved, plus reimbursement of all costs and attorneys'
fees incurred.      In addition to the rights granted to the parties hereto, the parties
acknowledge and agree that any franchisee from which an employee was hired by
either party to this Agreement in violation of the terms of this Section shall be deemed to
be a third-party beneficiary of this provision and may sue and recover against the
offending party the liquidated damages herein set forth; provided however, the failure by
Franchisor to enforce this Section shall not be deemed to be a violation of this Section.


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23.        LIQUOR LICENSE

        The grant of the rights which are the subject of this Agreement is expressly
conditioned upon the ability of the Franchisee to obtain and maintain any and all
required state and/or local licenses permitting the sale of liquor by the drink on the
Restaurant premises, and Franchisee agrees to use its best efforts to obtain such
licenses. After obtaining the necessary state or local liquor licenses, Franchisee shall
thereafter comply with all applicable laws and regulations relating to the sale of liquor on
the Restaurant premises. If, during any twelve (12) month period during the term of this
Agreement,    Franchisee is prohibited for any reason from selling liquor on the
Restaurant premises for more than thirty (30) days because of a violation or violations
of state or local liquor laws, then at the option of Franchisor this Agreement may be
terminated forthwith by Franchisor upon written notice to Franchisee.

24.        FORCE MAJEURE

        24. 1   As used in this Agreement, the term "Force Majeure" shall mean any act
of God, strike, lock-out or other industrial disturbance, war (declared or undeclared),
riot, epidemic, fire or other catastrophe, act of any government and any other similar
cause not within the control of the party affected thereby.

           24. 2   If the
                      performance of any obligation by any party under this Agreement is
prevented or delayed by reason of Force Majeure, which cannot be overcome by use of
normal commercial      measures, the parties shall be relieved of their respective
obligations to the extent the parties are respectively necessarily prevented or delayed in
such performance during the period of such Force Majeure. The party whose
performance is affected by an event of Force Majeure shall give prompt notice of such
Force Majeure event to the other party by facsimile, telephone or telegram (in each
case to be confirmed in writing), setting forth the nature thereof and an estimate as to its
duration, and shall be liable for failure to give such timely notice only to the extent of
damage actually caused.

         24. 3    Notwithstanding the provisions of this Section 24, if, as a result of an
event of Force Majeure (including condemnation proceedings), the Franchisee ceases
to operate the Restaurant or loses the right to possession of the Restaurant premises,
Franchisee shall apply within thirty(30) days after the event of Force Majeure for
Franchisor's approval to relocate and/or reconstruct the Restaurant.        If relocation is
necessary, Franchisor agrees to use its reasonable efforts to assist Franchisee in
locating an alternative site in the same general area where Franchisee can operate a
Restaurant within the System for the balance of the term of the Franchise Agreement. If
Franchisor so assists Franchisee, Franchisee shall reimburse Franchisor for its
reasonable out-of-pocket expenses incurred as a result thereof. (This provision shall
not be construed to prevent Franchisee from receiving the full amount of any
condemnation award of damages relating to the closing of the Restaurant; provided
however, that if Franchisor or an affiliate is the lessor of the Restaurant premises,
Franchisee specifically waives and releases any claim it may have for the value of any
building, fixtures and other improvements    on the premises, whether or not installed or
paid for by the Franchisee, and Franchisee agrees to subordinate any claim it may have
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to Franchisor's claim for such improvements. ) Selection of an alternative location will be
subject to the site approval procedures set forth in Section 5 of the Development
Agreement.     For purposes of clarification, if Franchisee does not have development
rights, Franchisor does not have any obligation to approve a new site. Once Franchisee
has obtained Franchisor's approval to relocate and/or reconstruct the Restaurant,
Franchisee must diligently pursue relocation and/or reconstruction until the Restaurant
is reopened for business.

25.        MISCELLANEOUS

           25. 1    notices and other communications required or permitted to be given
                   All
hereunder shall be deemed given when delivered in person, by overnight courier
service, facsimile transmission or mailed by registered or certified mail addressed to the
recipient at the address set forth below, unless that party shall have given written notice
of change of address to the sending party, in which event the new address so specified
shall be used.

       FRANCHISOR:         Applebee's Franchisor LLC
                           8140 Ward Parkway
                           Kansas City, Missouri 64114
                           Attention: General Counsel

       FRANCHISEE:         Apple Central KC, LLC
                           9 Greenwich Office Park, 2" Floor
                           Greenwich, CT 06831
                           Attn. : Mr. William   J. Georgas and Mr. Trevor Ganshaw
       PRINCIPAL SHAREHOLDERS:               Same as Franchisee

           25.2     terms used in this Agreement, regardless of the number and gender
                   All
in which they are used, shall be deemed and construed to include any other number,
singular or plural, and any other gender, masculine, feminine or neuter, as the context
or sense of this Agreement may require, the same as if such words had been written in
this Agreement themselves. The words "includes", "including" and "inclusive" and the
phrases "in particular", "such as", "i.e." and "for example" when used in this Agreement
shall be interpreted and construed so as not to limit the generality of the words of
general application and nature which precede these words and phrases. The headings
inserted in this Agreement are for reference purposes only and shall not affect the
construction of this Agreement or limit the generality of any of its provisions.

        25.3    Franchisee shall, at its own cost and expense, promptly comply with all
laws, ordinances, orders, rules, regulations and requirements of all federal, state and
municipal governments and appropriate departments, commissions, boards and offices
thereof. Without limiting the generality of the foregoing, Franchisee shall abide by all
applicable rules and regulations of any public health department.

       25.4    In the event that Franchisor or its affiliates have leased the Restaurant
premises to Franchisee pursuant to a written lease agreement (the "Lease" ), the Lease
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is hereby incorporated     in this Agreement by reference, and any failure on the part of
Franchisee   (Lessee therein) to perform, fulfill or observe any of the covenants,
conditions or agreements contained in the Lease shall constitute a material breach of
this Agreement.     It is expressly understood, acknowledged and agreed by Franchisee
that any termination of the Lease shall result in automatic and immediate termination of
this Agreement without additional notice to Franchisee.

        25.5    This Agreement and the documents referred to herein constitute the
entire agreement between the parties, superseding and canceling any and all prior and
contemporaneous      agreements,    understandings,   representations, inducements   and
statements, oral or written, of the parties in connection with the subject matter hereof.
FRANCHISEE EXPRESSLY ACKNOWLEDGES THAT IT HAS ENTERED INTO THIS
FRANCHISE AGREEMENT AS A RESULT OF ITS OWN INDEPENDENT
INVESTIGATION AND AFTER CONSULTATION WITH ITS OWN ATTORNEY, AND
NOT AS A RESULT OF ANY REPRESENTATIONS OF FRANCHISOR, ITS AGENTS,
OFFICERS OR EMPLOYEES, EXCEPT AS CONTAINED HEREIN AND IN
FRANCHISOR'S FRANCHISE DISCLOSURE DOCUMENT, HERETOFORE MADE
AVAILABLE TO FRANCHISEE. Nothing in this Agreement will disclaim or require
Franchisee to waive reliance on any representation that Franchisor made in the most
recent disclosure document (including its exhibits and amendments) that Franchisor
delivered to Franchisee or its representative.

           25.6Except as expressly authorized herein, no amendment or modification of
this Agreement shall be binding unless executed in writing both by Franchisor and by
Franchisee and Principal Shareholders.

           25.7 Franchisee and the Principal Shareholders acknowledge and agree that (i)
this Agreement     (and the relationship of the parties contemplated by this Agreement)
grants   Franchisor the discretion to make decisions, take actions and/or refrain from
taking actions not inconsistent        with Franchisee's   explicit rights and obligations
 hereunder that may affect favorably or adversely Franchisee's interests; (ii) Franchisor
will use its business judgment       in exercising such discretion based on Franchisor's
assessment of its interests and the System, balancing those interests with or against
the interests of the operators of Restaurants generally (including Franchisor, its affiliates
and other franchisees) and specifically without considering the individual interests of
any particular franchisee; (iii) Franchisor will have no liability to Franchisee for the
exercise of its discretion in this manner and (iv) even if Franchisor has numerous
motives for a particular action or decision, so long as at least one motive is a
reasonable business justification for such action or decision, no trier of fact in any legal
action shall substitute its judgment for Franchisor's judgment so exercised, and such
action or decision will not be subject to challenge for abuse of discretion.    If Franchisor
takes any action or chooses not to take any action in Franchisor's discretion with regard
to any matter related to this Agreement and Franchisor's action or inaction is challenged
for any reason, the parties expressly direct the trier of fact that Franchisor's reliance on
a business reason in the exercise of its discretion is to be viewed as a reasonable and
proper exercise of Franchisor's discretion, without regard to whether other reasons for
its decision may exist and without           regard to whether the trier of fact would
independently accord the same weight to the business reason.
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      25.8 This Agreement may be signed in counterparts and each counterpart with
a hand-written signature, whether an original or an electronic data text (including
telegram, telex, facsimile, electronic data interchange and electronic mail) is considered
an original and all counterparts constitute one and the same instrument.


26.        ACKNOWLEDGMENTS

           Franchisee and Principal Shareholders      acknowledge   that:

              (a)     Franchisee   has received a copy of this Agreement and has had an
      opportunity to consult with its attorney     with respect thereto at least seven days
      prior to execution of this Agreement;

              (b)     No   representation   has been made     by Franchisor   as to the    future
      profitability    of the Restaurant;

              (c)Prior to the execution of this Agreement, Franchisee has had ample
      opportunity to contact Franchisor's existing franchisees, if any, and to investigate
      all statements made by Franchisor relating to the' System;

                This Agreement establishes
              (d)                                       the right to construct and    operate      a
      Restaurant only at the location specified       in Subsection 1.1 hereof; and


              (e)  Franchisor is the sole owner of the service marks identified in this
      Agreement,     and of the goodwill associated therewith, and Franchisee acquires no
      right, title or interest in those names and marks other than the right to use them
      only in the manner and to the extent prescribed and approved by Franchisor.



                                      [Signature Pages Follow]




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     IN WITNESS WHEREOF, the undersigned        have entered into this Agreement   as of
the date first above written.

                                       FRANCHISOR:

                                       AP

                                       By:
                                       Name.          n
                                       Title: President




                       Signature Page to Franchise Agreement
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                                     FRANCHISEE:

                                     APPLE CENTRAL KC, LLC

                                     By:    American       Franchise Capital   III, LLC,
                                            itss   I




                                            By:
                                            Name: William       J. Georgas
                                            Title: Manager


                                            Name: Trevor Ganshaw
                                            Title: Manager

PRINCIPAL SHAREHOLDERS:

AMERICAN FRANCHISE CAPITAL III,
LLC

By:
Name. Willia
Title: Manager

By:
Name. revor
Title: Manager


WJ                                         G ANSHAW INVESTMENTS III, LLC

By:
Nam                                        Name: Trevor Ganshaw
Title: Member                              Title: Member




                                            arne: W~illi           orgas




                     Signature Page to Franchise Agreement
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                    EXHIBIT 1 TO FRANCHISE AGREEMENT

                                ROYALTY FEE




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                         APPENDIX A TO FRANCHISE AGREEMENT

                         STATEMENT OF OWNERSHIP INTERESTS


                                                           Percent of Issued and
           Shareholder                                Outstandin  Shares of Franchisee

           American Franchise Capital III, LLC                     1 QQ'/




As of the date of this Agreement,      the members of American Franchise Capital     III, LLC
are as follows:

                                                          Percent of Issued
           Member:                                        Membershi     Interests

           WJG Capital Investments III, LLC                        50'/0
           Ganshaw Investments    I, LLC
                                 I I                               50'/0


           As of the date of this Agreement, William J. Georgas owns 100'/o of the
           Membership   Interests of WJG Capital Investments III, LLC, and Trevor
           Ganshaw owns 100'/o of the Membership Interests of Ganshaw Investments
           III, LLC.




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                    APPENDIX B TO FRANCHISE AGREEMENT
              REVIEW AND CONSENT WITH RESPECT TO TRANSFERS

         In determining   whether to grant or to withhold consent to a proposed Transfer,
 Franchisor shall consider all of the facts and circumstances which it views as relevant in
the particular instance, including, but not limited to, any of the following:          (i) work
experience and aptitude of Proposed New Owner and/or proposed new management (a
proposed transferee of a Principal Shareholder's Interest and/or a proposed transferee
of this Agreement is referred to as "Proposed New Owner" ); (ii) financial background
and condition of Proposed New Owner, and actual and pro forma financial condition of
Franchisee; (iii) character and reputation of Proposed New Owner; (iv) conflicting
interests of Proposed New Owner; (v) the terms and conditions of Proposed New
Owner's rights, if the proposed Transfer is a pledge or hypothecation; (vi) the adequacy
of Franchisee's operation of any Restaurant and compliance with the System and this
Agreement; and (vii) such other criteria and conditions as Franchisor shall then consider
relevant in the case of an application for a new franchise to operate a restaurant unit
within the System by an applicant that is not then currently doing so. Franchisor's
consent also may be conditioned upon execution by Proposed New Owner of an
agreement whereby Proposed New Owner assumes full, unconditional,                   joint and
several liability for, and agrees to perform from the date of such Transfer, all obligations,
covenants and agreements contained herein to the same extent as if it had been an
original party to this Agreement        and may also require Franchisee and Principal
Shareholders, including the proposed Transferor(s), to execute a general release which
releases Franchisor and its affiliates from any claims they may have had or then have
against Franchisor and its affiliates. In the event Proposed New Owner is a partnership
(including, but not limited to, a limited partnership), Proposed New Owner will also be
required to execute an addendum to the Agreement which amends the references to
Franchisee and its Principal Shareholders to include the partnership approved by
Franchisor and Proposed New Owner's general partner(s)                    and the principal
shareholders of the general partner(s), if the general partner(s) is a corporation. This
addendum       will contain   a provision including in the definition of "Transfer" the
withdrawal,    removal or voluntary/involuntary   dissolution (if applicable) of the general
partner(s) or the substitution or addition of a new general partner.          Franchisee or
Principal Shareholders,      as the case may be, shall provide Franchisor with such
information as it may require in connection with a request for approval of a proposed
Transfer.      For purposes of clarification, nothing in this Appendix B shall limit
Franchisor's discretion in granting or withholding consent to a Transfer or to require the
applicable parties to agree to certain terms as a condition to obtaining consent to a
Transfer.




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                     APPENDIX C TO FRANCHISE AGREEMENT

                           CONFIDENTIALITY AGREEMENT

        THIS AGREEMENT is made this                         day   of
20             by and between                                                                 a
                  corporation ("Developer" ), and                                       ,   an
individual employed by Developer ("Employee" ).

WITNESSETH:

        WHEREAS, APPLEBEE'S FRANCHISOR LLC ("Applebee's") has the right to
grant franchises for all rights in and to a unique system for the development and
operation of restaurants (the "System" ), which includes proprietary rights in valuable
trade names, service marks and trademarks, including the service mark Applebee's
Neighborhood Grill 8 Bar and variations of such mark, designs and color schemes for
restaurant premises, signs, equipment, procedures and formulae for preparing food and
beverage products, specifications for certain food and beverage products, inventory
methods, operating methods, financial control concepts, a training facility and teaching
techniques;

        WHEREAS, Developer is the owner of the exclusive right to develop restaurants
franchised by Applebee's which utilize the System ("Restaurants" ) for the period and in
the territory described in the Development      Agreement between Applebee's and
Developer (the "Development Agreement" ); and

        WHEREAS, Developer acknowledges that Applebee's information as described
above was developed over time at great expense, is not generally known in the industry
and is beyond Developer's own present skills and experience, and that to develop it
itself would be expensive, time-consuming     and difficult, that it provides a competitive
advantage and will be valuable to Developer in the development of its business, and
that gaining access to it was therefore a primary reason why Developer entered into the
Development   Agreement;   and

        WHEREAS, in consideration of Applebee's confidential disclosure to Developer
of these trade secrets, Developer has agreed to be obligated by the terms of
Development Agreement to execute, with each employee of Developer who will have
supervisory authority over the development or operation of more than one Restaurant in
the Territory described in the Development Agreement, a written agreement protecting
Applebee's trade secrets and confidential information entrusted to Employee;

        NOW, THEREFORE, in consideration of the mutual         covenants    and obligations
contained herein, the parties agree as follows:

        (1)    The parties acknowledge and agree that Employee is or will be employed
in  a supervisory or managerial capacity and in such capacity will have access to
information and materials which constitute trade secrets and confidential and proprietary
information.   The parties further acknowledge and agree that any actual or potential
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direct or indirect competitor of Applebee's, or of any of its franchisees,         shall not have
access to such trade secrets and confidential information.

           (2)      The parties    acknowledge    and   agree that the System      includes   trade
secrets and confidential  information which Applebee's has revealed to Developer in
confidence, and that protection of said trade secrets and confidential information and
protection of Applebee's against unfair competition from others who enjoy or who have
had access to said trade secrets and confidential information are essential for the
maintenance of goodwill and special value of the System.

         (3)    Employee agrees that he or she shall not at any time (i) appropriate or use
the trade secrets incorporated in the System, or any portion thereof, for use in any
business which is not within the System; (ii) disclose or reveal any portion of the System
to any person, other than to Developer's employees as an incident of their training;
(iii) acquire any right to use, or to license or franchise the use of any name, mark or
other intellectual property right which is or may be granted by any franchise agreement
between Applebee's and Developer; or (iv) communicate, divulge or use for the benefit
of any other person or entity any confidential information, knowledge or know-how
concerning the methods of development or operation of a Restaurant which may be
communicated to Employee or of which Employee may be apprised by virtue of
Employee's employment        by Developer.     Employee shall divulge such confidential
information only to such of Developer's other employees as must have access to that
information in order to operate a Restaurant or to develop a prospective site for a
Restaurant.       Any and information,    knowledge    and know-how,     including,  without
limitation, drawings, materials, equipment, specifications, techniques and other data,
which Applebee's designates as confidential, shall be deemed confidential for purposes
of this Agreement.

           (4)Employee further acknowledges and agrees that any materials or manuals
provided  or made available to Developer by Applebee's (collectively, the "Manuals" ),
described in Section 5 of the applicable franchise agreement between Applebee's and
Developer, are loaned by Applebee's to Developer for limited purposes only, remain the
property of Applebee's, and may not be reproduced, in whole or in part, without the
written consent of Applebee's.

       (5)    Employee agrees to surrender to Developer or to Applebee's each and
every copy of the Manuals and any other information or material in his or her
possession or control upon request, upon termination          of employment    or upon
completion of the use for which said Manuals or other information or material may have
been furnished to Employee.

       (6)    The parties agree that in the event of a breach of this Agreement,
Applebee's would be irreparably injured and would be without an adequate remedy at
law. Therefore, in the event of a breach or a threatened or attempted breach of any of
the provisions hereof, Applebee's shall be entitled to enforce the provisions of this
Agreement as a third-party beneficiary hereof and shall be entitled, in addition to any
other remedies which it may have hereunder at law or in equity (including the right to
terminate        the Development    Agreement),   to a temporary   and/or   permanent   injunction
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and a decree for specific performance of the terms hereof without the necessity of
showing actual or threatened damage, and without being required to furnish a bond or
other security.

        (7)    If any court or other tribunal having jurisdiction to determine the validity or
enforceability of this Agreement determines that it would be invalid or unenforceable as
written, the provisions hereof shall be deemed to be modified or limited to such extent or
in such manner necessary for such provisions           to be valid and enforceable to the
greatest extent possible.

           IN   WITNESS WHEREOF, the undersigned      have entered into this Agreement     as
of the date first above written.

DEVELOPER                                          EMPLOYEE


By:                                               By:
Name:                                             Name:
Title:




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                                      APPENDIX D
                         EFT WITHDRAWAL AUTHORIZATION

APPLEBEE'S SERVICES, INC. ("COMPANY" )
ID NUMBER:

        The undersigned ("DEPOSITOR" ) authorizes COMPANY to initiate debit entries
to the Checking Account indicated below at the DEPOSITORY named below, and
authorizes DEPOSITORY to debit to such account all entries COMPANY initiates.

DEPOSITORY
NAME                                            BRANCH
CITY                                            STATE
CHECKING ACCOUNT NO.
ROUTING NUMBER

      DEPOSITOR agrees that this authorization will remain in full force and effect
until DEPOSITOR has given COMPANY written notice of its revocation in such
time and in such manner as to afford COMPANY and DEPOSITORY a reasonable
opportunity   to act on the notice.

DEPOSITOR'S
NAME                                      ID NUMBER

DEPOSITOR'S SIGNATURE

NAME AND TITLE OF PERSON SIGNING (if signed in a representative        capacity)


DATE

NOTE:     ALL WRITTEN DEBIT AUTHORIZATIONS MUST PROVIDE THAT THE
DEPOSITOR MAY REVOKE THE AUTHORIZATION ONLY BY NOTIFYING THE
DEBIT ORIGINATOR   (COMPANY)   IN THE MANNER   SPECIFIED IN THE
AUTHORIZATION.




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                        APPLEBEE'S NEIGHBORHOOD GRILL & BAR
              REFRANCHISING ADDENDUM TO FRANCHISE AGREEMENT

Information     Page

Asset Purchase Agreement dated: April 20, 2015, among Applebee's Restaurants West
LLC, Applebee's Restaurants Kansas LLC, Applebee's Restaurants,     Inc. , Gourmet
Systems USA, LLC, and Franchisee

Franchisee:     Apple Central KC, LLC, a Kansas limited liability company

Premises:       3404 Rainbow Boulevard, Kansas City, Kansas

Development     Agreement   Dated: July 23, 2015

Territory: A PORTION           OF THE      KANSAS      CITY,     MISSOURI-KANSAS       CITY,
KANSAS A. D. I.

Franchise Agreement Date: July 23, 2015

Expiration Date of the Franchise Agreement: May 31, 2027

Per Section 7.2 of the Franchise Agreement, as amended,
Date of First Required Restaurant    Modernization:   N/A


Per Section 9.1(a) of the Franchise Agreement, as amended, the franchise fee is $0.

Per Section 10 of the Addendum,     the governing document is: Limited Liability Company
Agreement     of Apple Central KC, LLC, dated April 20, 2015

Principal Shareholder(s):

American Franchise Capital III, LLC, a Delaware limited liability company,
WJG Capital Investments III, LLC, a Delaware limited liability company,
Ganshaw Investments III, LLC, a Delaware limited liability company,
William    J. Georgas
Trevor Ganshaw




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                        APPLEBEE'S NEIGHBORHOOD GRILL & BAR
                  RE-FRANCHISING ADDENDUM TO FRANCHISE AGREEMENT

      THIS ADDENDUM TO FRANCHISE AGREEMENT ("Addendum" ) is made and
entered into as of this 23' day of July, 2015 (the "Effective Date" ) by and between
Applebee's Franchisor LLC, a Delaware limited liability company ("Franchisor" ), the
franchisee listed on the Information Page ("Franchisee" ), and the persons or entities
listed as principal shareholder(s) on the Information Page (individually the "Principal
Shareholder" and collectively, the "Principal Shareholders" ). Capitalized terms not
defined in this Addendum shall have the meanings defined on the Information Page
preceding this Addendum (the "Information Page" ). The Information Page is an
integral part of this Addendum.

A.      Franchisor or its affiliate is selling certain of the assets associated with the
Applebee's    Neighborhood     Grill 8 Bar restaurant     located at the Premises (the
"Restaurant" ) to Franchisee pursuant to an Asset Purchase Agreement by and among
Applebee's Restaurants West LLC, a Delaware limited liability company, Applebee's
Restaurants Kansas LLC, a Kansas limited liability company, Applebee's Restaurants,
Inc. , a Kansas corporation, Gourmet Systems USA, LLC, a Kansas limited liability
company, and Franchisee dated April 20, 2015 (including any amendments, the "Asset
Purchase Agreement" ) and assigning the real estate lease for the Premises pursuant
to the Assignment dated July 23, 2015 (the "Assignment" ).

B.     Contemporaneous with the execution of this Addendum, Franchisor, Franchisee
and Principal Shareholders entered into an Applebee's Neighborhood       Grill 8 Bar
development agreement (the "Development Agreement" ), whereby Franchisor granted
to Franchisee the right to develop Applebee's Neighborhood Grill & Bar Restaurants in
the Territory.

C.          contemporaneous
           Also                 with the execution    of this Addendum,    Franchisor,
Franchisee and Principal Shareholders entered into an Applebee's Neighborhood Grill &
Bar Franchise Agreement (the "Franchise Agreement" ) for the operation of the
Restaurant.

D.         "Intentionally   Deleted. "

E.     Franchisor, Franchisee and Principal            Shareholders    desire    to amend   the
Franchise Agreement as hereinafter set forth.

        NOW, THEREFORE, in consideration            of mutual covenants and other good and
valuable  consideration, the receipt and             legal sufficiency of which is hereby
acknowledged,        the parties hereby agree as follows:

1.         The Franchise       Agreement   is hereby   amended   and   supplemented     by this
Addendum.

2.         "Intentionally   Deleted. "




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3.    Notwithstanding  the provisions of Section 1.2 of the Franchise Agreement, the
term of the Franchise Agreement shall expire on the date shown on the Information
Page unless terminated earlier.

4.         Section 4.2 of the Franchise Agreement      regarding   opening assistance is hereby
deleted      in its entirety.

5.      Notwithstanding     Sections 6. 1 and 6.2 of the Franchise Agreement regarding
initial training,   Franchisor may waive such initial training requirements    for the
Restaurant if the General Manager, Kitchen Manager and/or the assistant managers
were previously employed by Franchisor at the Restaurant and/or are not in need of
additional training, as determined by Franchisor in its sole discretion.

6.     Section 7.2 of the Franchise Agreement is hereby amended               by deleting the first
sentence thereof and replacing it with the following:

           In  order to assure the continued success of the Restaurant, Franchisee
           shall, at any time and from time to time, as reasonably required by
           Franchisor, (taking into consideration the cost and then-remaining term of
           this Agreement), modernize the Premises, equipment, signs, interior and
           exterior decor items, fixtures, furnishings, supplies, and other products and
           materials required for the operation of the Restaurant, to Franchisor's then-
           current standards and specifications.

7.         Section 8.4 of the Franchise Agreement is hereby deleted       in its entirety.

8.      Notwithstanding Section 9.1(a) of the Franchise Agreement, Franchisee will pay
to Franchisor the franchise fee described on the Information Page on or before the
Effective Date.

           "Intentionally       Deleted. "

10. Franchisee and Principal Shareholders represent, covenant and warrant to
Franchisor that each is bound by the governing document described on the Information
Page in the form attached as Exhibit A to this Addendum (the "Governing Document" ).
The Principal Shareholders shall not amend, modify or waive any provision of the
Governing Document relating to (a) the purpose of Franchisee, or (b) the restrictions on
transfers required by the Agreement without Franchisor's prior written consent. Nothing
contained in the Governing Document will be deemed to limit or modify any rights of
Franchisor under the Franchise Agreement.

11.        Section 13.1 of the Franchise Agreement          is hereby   amended     by adding   the
following:

          The customer list of the Restaurant and all historical data relating to the
          operation of the Restaurant shall also be deemed to be information that is
          proprietary to Franchisor.




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12.    Franchisee shall not execute or agree to any modification of the Lease for the
Restaurant which would adversely affect Franchisor's rights without the prior written
approval of Franchisor.

13.     Section 19.1 of the Franchise Agreement           is hereby   amended   by adding    the
following as subprovision (g) thereof:

                   (g)      Franchisee fails to comply with, commits a breach of, or
                            if
           defaults under, the terms of its obligations under, the Asset Purchase
           Agreement or any document executed in connection with the closing of the
           transactions contemplated in the Asset Purchase Agreement, in each case,
           following the expiration of any applicable cure period.

14. Notwithstanding         provisions of Section 22 of the Franchise Agreement,
                                 the
Interference with Employment Relations, Section 22 shall not apply to Franchisee's
hiring of any employee on the Effective Date who was an employee at the Restaurant or
had responsibility for supervising the Restaurant, as an area director, as of the day
immediately preceding the Effective Date.

15. Section 26 of the Franchise Agreement         is hereby amended    by adding the following
new Section 26(g):

           (g)   Pursuant    to this Agreement, Franchisor has granted Franchisee the
           right to  operate the Restaurant at a location at which Franchisor or its
           affiliate previously developed and/or operated the Restaurant. Franchisee
           acknowledges and agrees that the grant of the franchise for the operation
           of the Restaurant at the location does not constitute an assurance,
           representation or warranty of any kind, express or implied, as to the initial
           or continuing suitability of the location for an Applebee's Neighborhood Grill
           & Bar or for any other purpose, and that Franchisor shall not be
           responsible     in the event the Restaurant       fails to meet Franchisee's
           expectations as to revenue or operational criteria.

16. This Addendum     and the Franchise Agreement contain the entire agreement
between the parties with respect to the subject matter herein contained, and except as
otherwise provided in the Franchise Agreement as amended by this Addendum, no
other agreements, representations    or commitments made or discussed prior to the
Effective Date shall survive the execution of the Franchise Agreement and this
Addendum.

17.    Each of the terms and provisions of this Addendum is deemed incorporated by
reference into the Franchise Agreement. When a conflict exists between this Addendum
and the Franchise Agreement, this Addendum shall control. Any capitalized term not
otherwise defined in this Addendum       shall have the meaning as set forth in the
Franchise Agreement. If any provision of this Addendum is found to be unenforceable,
the remaining provisions will continue to be in full force and effect. This Addendum will
be binding upon and inure to the benefit of all parties, their successors and permitted
assigns. No waiver of any provision of this Addendum will be enforceable against a
party unless it is in writing and signed by such party. No waiver by any party of any
provisions of this Addendum will be deemed to be or constitute a waiver of any other
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provision hereof (whether or not similar), nor will such waiver constitute   a continuing
waiver unless otherwise expressly provided.

18.     This Addendum may be signed in counterparts and each counterpart with a
hand-written   signature, whether an original or an electronic data text (including
telegram, telex, facsimile, electronic data interchange and electronic mail) is considered
an original and all counterparts constitute one and the same instrument.

                               [Signature Pages Follow]




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       IN   WITNESS WHEREOF, the parties hereto have executed this Addendum                        the
day and year first above written.


                                                  FRANCHISOR:

                                                  AP

                                                  By:
                                                  Nam
                                                  Title: President




                Signature Page to Refranchising    Addendum   to Franchise Agreement
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                                                     FRANCHISEE:

                                                     APPLE CENTRAL KC, LLC

                                                     By:    American Franchise Capital III, LLC,
                                                            its sole member

                                                            By:
                                                            Name.     i lia
                                                            Title: M~ana er

                                                            By:
                                                            Nam . Trevor
                                                            Title: Manager

PRINCIPAL SHAREHOLDERS. "

AMERICAN FRANCHISE CAPITAL III,
LLC

By:
Nam
Title: M~ana er

By:
Na    e. Trevor
Title: Manager


WJG CAPITAL IN                                             GANSHQEl-INVESTMENTS            III, LLC

By:                                                        By:
Name.     illiap                                           Name: Trevor Ganshaw
Title: Member                                              Title: Member




                                                           Name: Trevor Ganshaw




                   Signature Page to Refranchising    Addendum    to Franchise Agreement
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                               EXHIBIT A
                         GOVERNING DOCUMENTS




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                           LIMITED LIABILITY COMPANY ACREEMEbT
                                               OF
                                   APPLE (.'L4'I 14. I. KC. LLC
                                                           i&.




                 LIMITED LIARII. ITY COivlPANY AGREEMFNT {this "Aur'ccnrcrrt") of'
  Central KC, LLC is entered into as of April 20, 2015 by A. merican                         Apple
                                                                     Franchise Capital III, LLC. as
  sole member (the "Member"}.

                1.      'Aame. 'I he name of the limited liability cnmpaiiy
                                                                            governed hereby is Apple
  Central KC. LLC. a Kansas limited I!ability company {the "Com anv"
                                                                       }.
                    2.    Pui ose. The Company does and will exist for the object and
                                                                                             purpose of. and
  the natuie   of the business io be conducted and promoted by the Company is and will be.
                                                                                                 engaging in
  any lawful act or activit~ for which limited liability companies
                                                                         may bc forirrcd under the Kansas
  Revised Limited Liability %arne:
                              Conrpany Aci {K.S.A. 17-7662, et seq. ). as amended from tirrte to
                                                                                                         time
  (the "Act"), and engaging in any and all acti~ ities necessary or
                                                                    incidental to the fbregoing.

                   3.      Ivfembers.   The name and mailing address     of the sole Member is as foll«v, s.
                              '.
                                                                               Addi'ess'

               American Franchise Capital III. LLC               9 Grc, rrwich Office Park. . 2'"' Floor
                                                                   Greenv ich. Connecticut 06831


                               Powers       The Member of the Coinpany shall manage the Company
                                                                                                         in
 accordance ivith this Agreement.                The actions of the Member taken in such capacity and
                                                                                                         in
 accordance with this Agrccmeni shal! bind the Company.                 '1
                                                                           he Cnrrrpany shall nui have any
  111arrag&er,. as that ter lrr rs dcfrnled lri the Aci.


                (i}     1 hc Member shall have full. exclusive and complete discretion
                                                                                         to manage and
control ihc business and af'tai:s of the Company. to mal e all
                                                                    decisions affecting the business.
operations and affairs nf' the Comparr& and io take all such actions
                                                                            as it deems necessary or
appropriate to accomplish the purpose of the Company as set fort herein.
                                                                              Subject to the provisions
nf this Agreement. the Member (and the officers appointed under
                                                                        clause {ii) below) shall have
general and active management of the day tn day busnicss and
                                                                    operations of the Company.        In
addiiinn, the Member shall have such other powers and duties
                                                                      as may be prescribed by this
Agreement.    Such duties may be delegated by the Member lo officers.
                                                                           agents or einployees of the
Company as the Member may deem appropriate from time to time.

                 (ii)    I he Member may, from time to time, designate one or more
                                                                                              persons to bc
 oAicers of the Company. Nu of'ficer need be a member of the
                                                                   Company. Any officers so designated
will have such authority and perform such duties as the Membei
                                                                      may. fiom time io time, delegate to
them. The Member may assign titles to particular officers.
                                                                including, without limitation, chaintran.
chief executive officer, president. vice president, chief operating
                                                                              officer, secretary. assistant
secretary, treasurer and assistant treasurer. Each of'ficer will hold office
                                                                                 until his or her successor
will be duly designated and xvill qualify or until his or her death
                                                                     or until he or she will resign or will
have been removed. Any number of offices may be held
                                                              by the same person, The salaries or other
compensation. if any, of the officers and agents of the Company will be fixed
                                                                                      from time to time by
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obligatioits oi' Iiabi!itiLs of the Co: )pans except!o t!)e c) tent pi'ovidcd in the Act.

                           9.        («)«. r'!Iii!. I., &)). T!Iis Agrccmci}1 shall bc govern!)ed by. cir. d cc}n»', !L:ed ui)der.
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»'&B'C


                IW OiITNESS %)HEREOF, the undersigned,      intending to bc legallv bound hereby.
has duIy executed this Limited Liability Company Agreement as of the date first written above.

                                                                             AMERICAN FRANCHISE CAPITAI. III, I.I, C,
                                                                             as Sale )&&I&i&&cc
                                                                                                          /
                                                                                                          /-L
                                                                             Name.                     (4i11i;fj Ceorgas
                                                                                                                  i


                                                                             Title:                    Manager


                                                                             Natne:                    I I'&'v(I!' Gansha}&}}'

                                                                             Tt tie:                   M! anager
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                           ADDENDUM TO FRANCHISE AGREEMENT

           THIS ADDENDUM          TO FRANCHISE AGREEMENT ("Addendum"       )             is entered     this
23"' day of July, 2015, by and between Applebee's Franchisor LLC, a Delaware           limited
liability company ("Franchisor" ), Apple Central KC, LLC, a Kansas limited liability company
("Franchisee" ) and American Franchise Capital III, LLC, a Delaware limited liability
company, WJG Capital Investments          III, LLC, a Delaware   limited liability company,
Ganshaw Investments III, LLC, a Delaware limited liability company, William J. Georgas
and Trevor Ganshaw (collectively, the "Principal Shareholders" and, individually,             a
"Principal Shareholder" ).

           WITNESSETH:

        WHEREAS, contemporaneous      with the execution of this Addendum,   Franchisor,
Franchisee and the Principal Shareholders will execute an Applebee's Neighborhood Grill
& Bar Franchise Agreement ("Franchise Agreement" ) granting Franchisee certain rights
therein described; and

       WHEREAS, the parties desire to amend the Franchise Agreement to reflect
accurately the identity and nature of the parties to the Franchise Agreement as a result of
Franchisee's form of business as a limited liability company.

           NOW, THEREFORE, the Franchise Agreement              is hereby amended     as follows:
           1.  Section 11 Amended.        Subsections 11.1 and 11.2 of Section 11, entitled
"FRANCHISE         ORGANIZATION,         AUTHORITY,        FINANCIAL   CONDITION      AND
SHAREHOLDERS", are hereby amended by deleting the same as each now appears and
inserting the following in its respective place and stead:

           "11.1 Franchisee        and the Principal Shareholders represent and warrant that:
            (a) Franchisee is a limited liability company, validly existing and in good standing
            under the laws of the state of its organization; (b) each Principal Shareholder that
            is an entity validly exists and is in good standing under the laws of the state of its
           formation; (c) Franchisee is duly qualified and is authorized to do business and is
            in good standing in each jurisdiction in which its business activities or the nature
           of the properties owned by it requires such qualification; (d) each Principal
           Shareholder existing as an entity is duly qualified and authorized to do business
           and is in good standing in each jurisdiction in which its respective business
           activities or the nature of the properties owned by each required such
           qualification;    (e) the execution and delivery of this Agreement             and the
           transactions contemplated         hereby are within Franchisee's power under its
           articles of organization and operating agreement or limited liability company
           agreement; (f) the execution and delivery of this Agreement and the transactions
           contemplated       hereby are within each entity's power under its respective
           formation      documents,    including  any operating    agreement,    limited   liability
           company agreement or limited partnership agreement governing such entity;
           (g) the execution and delivery of this Agreement have been duly authorized by
           the Franchisee; (h) the execution and delivery of this Agreement has been duly
           authorized by each Principal Shareholder; (i) the operating agreement or limited
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           liability company     agreement,     articles of organization   and certificate of
           organization   of Franchisee delivered to Franchisor are true, complete and
           correct, and there have been no changes therein since the date thereof; (j) the
           formation documents of each Principal Shareholder entity delivered to Franchisor
           are true, complete and correct, and there have been no changes therein since
           the date thereof; (k) the financial statement of Franchisee and financial
           statements of the Principal Shareholders, heretofore delivered to Franchisor, are
           true, complete and correct, and fairly present the financial positions of
           Franchisee and each Principal Shareholder, respectively, as of the date thereof;
           (I) such financial statements have been prepared in accordance with generally
           accepted accounting principles; (m) there have been no materially adverse
           changes in the condition, assets or liabilities of Franchisee or Principal
           Shareholders since the date or dates thereof; and (n) Franchisee has and/or will
           comply with all applicable rules, regulations and statutes governing the sale of
           membership interests, including, but not limited to, the Securities Act of 1933, as
           amended; the Securities and Exchange Act of 1934, as amended; and all
           applicable state securities rules, regulations and statutes. "

           "11.2 Franchisee       and Principal Shareholders covenant that during the term of
           this Franchise Agreement: (a) Franchisee shall do or cause to be done all things
           necessary to preserve and keep in full force its existence as a limited liability
           company and shall be in good standing in each jurisdiction in which its business
           activities or the nature of the properties owned by it requires such qualification;
           (b) Franchisee shall have the authority under its articles of organization and
           operating agreement to carry out the terms of this Agreement; and (c) Franchisee
           shall print, in a conspicuous fashion on all certificates, if any, evidencing
           membership      interests in Franchisee when issued, a legend referring to this
           Agreement and the restrictions on and obligations of Franchisee and Principal
           Shareholders hereunder, including, the restrictions on transfer of Franchisee's
           membership interests. Further, Franchisee shall deliver to Franchisor prior to the
           authorized change of any members a true specimen certificate evidencing
           membership      interests in the limited liability company, bearing the legend
           described herein. The limited liability company agreement or similar governing
           document for Franchisee and the Principal Shareholders that are entities will also
           include the legend referenced in this Section 11.2(c) at all times during the term
           of this Franchise Agreement. "

           2.      Section 12 Amended.    Subsections   12.2, 12.3, 12.4, 12.8(a) of Section 12,
entitled "TRANSFER", are hereby amended by deleting the same              as each now appears
and inserting the following in its respective place and stead:

           "12.2   Except as provided in Subsection 12.3 "Transfer" shall mean any
           assignment, sale, pledge, hypothecation, gift or any other such event which
           would change ownership of or create a new Interest, including, but not limited to:

           (a) any change in the ownership of or rights in or to any Interest of Principal
           Shareholders in Franchisee which would result from the act of such Principal
           Shareholders, such as a sale, exchange, pledge or hypothecation of Interest


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           in or rights to any of Franchisee's profits, revenues     or assets, or any such
           change which would result by operation of law; and

           (b)     any change in the percentage interest owned by any of the Principal
           Shareholders in their respective Interests in Franchisee which would result from
           any act of Franchisee such as a sale, pledge or hypothecation of any Restaurant
           assets (other than a pledge of assets to secure bona fide loans made or credit
           extended in connection with acquisition of the assets pledged, provided that
           immediately before and after such transaction the net worth of Franchisee shall
           not be less than the amount which is reflected on the financial statements
           referred to in Subsection 11.1 of this Agreement); any sale or issuance of any
           direct or indirect membership interests or other equity interests of Franchisee; the
           retirement or redemption of any direct or indirect membership interest or other
           equity interests in Franchisee; or any sale or grant to any person of any right to
           directly or indirectly participate in or otherwise to share or become entitled to any
           part of Franchisee's profits, revenues, assets or equity. "

           "12.3 "Transfer" shall not include (a) a change        in the ownership of or rights to
           any membership interest or other equity interest in Franchisee pursuant to a
           public offering of Franchisee's securities registered under the Securities Act of
            1933, or (b) a change in the ownership of or rights to any securities or other
           equity interest in Franchisee pursuant to a private offering of Franchisee's
           securities exempted from registration under such Act, provided that Franchisee
           provides Franchisor with a copy of its prospectus and/or offering memorandum, if
           any, ten (10) days prior to its filing with the Securities and Exchange Commission
           or circulation to third parties so that Franchisor may comment and, if necessary,
           correct any information concerning Franchisor and/or the System, and further
           provided that after giving effect to such public or private offering, the natural
           persons that are Principal Shareholders "control" Franchisee. For purposes of
           this Section 12, "control" means (a) owning, directly or indirectly, legal and
           equitable title to fifty-one percent (51%) or more of each class of Interest of
           Franchisee and (b) having and continually exercising the right, power and
           authority to act on behalf of, manage, operate and otherwise obligate or bind
           Franchisee in the conduct of Franchisee's business without the approval of the
           other Principal Shareholders, other holders of direct or indirect membership
           interests or other equity interests in Franchisee, or a board of directors or similar
                                    "
           group or organization.

           "12.4 "Interest" shall mean:   when referring to interests or rights in Franchisee,
           the direct or indirect membership interests or other equity interests of any person
           in Franchisee and any other equitable or legal right in or to any of Franchisee's
           revenues, profits or assets; when referring to rights or assets of Franchisee,
           Franchisee's rights under and interest in this Agreement, any Franchise
           Agreement, the Restaurants and their respective revenues, profits and assets. "

           12.8 "(a) Franchisee understands and acknowledges that the rights and duties
           set forth in this Agreement are personal to Franchisee and that Franchisor has
           entered into this Agreement in reliance on the business skill and financial
           capacity of Franchisee, and the business skill, financial capability and personal
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           character of each Principal Shareholder.        Except as otherwise set forth in this
           Section 12, the natural persons that are Principal Shareholders shall at all times
           retain control of Franchisee. Except as otherwise provided in this Section 12, no
           Transfer of any part of Franchisee's Interest in this Agreement or in the
           Restaurant, and no Transfer of any Interest of any Principal Shareholder, shall be
           completed except in accordance with this Subsection 12.8. In the event of such
           a proposed Transfer of any part of Franchisee's Interest in this Agreement or in
           the Restaurant, or of any Interest in Franchisee, the party or parties desiring to
           effect such Transfer shall give Franchisor notice in writing of the proposed
           Transfer, which notice shall set forth the name and address of the proposed
           transferee, its financial condition, including a copy of its financial statement dated
           not more than ninety (90) days prior to the date of said notice, and all the terms
           and conditions of the proposed Transfer. Upon receiving such notice, Franchisor
           may (i) approve the Transfer, or (ii) withhold          its consent to the Transfer.
           Franchisor shall, within forty-five (45) days of receiving such notice and all of the
           information requested by Franchisor regarding the proposed Transfer and the
           parties thereto, advise the party or parties desiring to effect the Transfer whether
           it (1) approves the Transfer, or (2) withholds     its consent to the Transfer, giving
           the reasons for such disapproval. Failure of Franchisor to so advise said party or
           parties within that forty-five (45) day period shall be deemed to be approval of the
           proposed Transfer. Appendix B sets forth the criteria for obtaining Franchisor's
           consent to a proposed Transfer. "

       3.   Section 13 Amended.              Subsection    13.1(c) of Section 13, entitled
"CONFIDENTIALITY; RESTRICTIONS, " is hereby amended by deleting the same as it now
appears and inserting the following in its respective place and stead:

           "(c) Neither Franchisee, Principal Shareholders nor any other owner of
           Franchisee shall at any time (i) appropriate or use the trade secrets incorporated
           in the System, or any portion thereof, in any restaurant      business which is not
           within the System, (ii) disclose or reveal any portion of the System to any person,
           other than to Franchisee's Restaurant employees as an incident of their training,
           (iii) acquire any right to use any name, mark or other intellectual property right
           which is or may be granted by this Agreement, except in connection with the
           operation of the Restaurants, or (iv) communicate, divulge or use for the benefit
           of any other person or entity any confidential information, knowledge or know-
           how concerning the methods of development or operation of a restaurant utilizing
           the System, which may be communicated by Franchisor in connection with the
           franchise granted hereunder. "

           4.  Section 14 Amended.     Subsection   14.4 of Section 14, entitled
"INSPECTIONS", is hereby amended by deleting the same as it now appears and inserting
the following in its place and stead:

           "14.4 Franchisee   shall maintain an accurate register of the owners of all direct or
           indirect  membership      interests  or other equity      interests in  Franchisee
           ("Membership Register" ). In the event that the beneficial ownership of the
           interests reflected on the Membership Register differs in any respect from record
           ownership, Franchisee also shall maintain a list of the names, addresses and
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           interests of all beneficial owners.      Franchisee shall produce its Membership
           Register and any list of beneficial owners certified by the Franchisee's secretary
           to be correct, at its principal executive offices upon ten (10) days prior written
           request by Franchisor.       Franchisor's representatives   shall have the right to
           examine the Membership Register and any list of beneficial owners, and to
           reproduce all or any part thereof. Further, upon ten (10) days' written notice,
           Franchisor may request a copy of the list of all members and the list of owners of
           beneficial owners to be forwarded to it at Franchisor's principal office. "

           5. Section 25 Amended. Subsection 25.6 of Section 25 is hereby amended by
deleting the same as it now appears and inserting the following in its place and stead:

           "25.6 Except as expressly authorized herein, no amendment or modification of
           this Agreement shall be binding unless executed in writing both by Franchisor
           and by Franchisee. "

        6.   A endix A Amended.         Appendix A to Franchise Agreement,           entitled
"STATEMENT OF OWNERSHIP INTERESTS", shall be amended to: (i) delete the word
"Shareholder" and insert the word "Members" in lieu thereof; (ii) delete the phrase "Percent
of Issued and Outstanding Shares of Franchisee" and insert the phrase "Percent of Interest
Owned in Franchisee" in lieu thereof.

           7. Governin     Law.      The interpretation, construction and validity of this
Addendum will be governed by the laws of the state of Kansas, without regard to any
"choice of law" provision or rule thereof.

       8.    No Further Amendment.          No further amendment    or modification of the
Franchise Agreement shall be binding unless executed in writing by Franchisor and
Franchisee or their authorized successors or assigns. No course of conduct or course of
performance under this or any other agreement between the parties will be deemed to
modify this Addendum.      Except as expressly set forth in this Addendum, the Franchise
Agreement remains in full force and effect.

       9.    Entire A reement.       This Addendum and the agreements, documents and
instruments referenced herein constitute the entire agreement between the parties with
respect to the subject matter hereof, superseding and cancelling any and all prior and
contemporaneous      agreements,      understandings,     representations,  inducements   and
statements, oral or written, of the parties in connection with the subject matter hereof.

        10. Headin s. The section headings are inserted as a matter of convenience and
in  no way define, limit or describe the scope of such section or affect the interpretation of
this Addendum.

           11.    Counter    arts.    This Addendum may be signed in counterparts and each
counterpart      with   a hand-written signature, whether an original or an electronic data text
(including telegram, telex, facsimile, electronic data interchange and electronic mail) is
considered an original and all counterparts constitute one and the same instrument.



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           12. Miscellaneous.    Each of the terms and provisions of this Addendum is
deemed incorporated by reference into the Franchise Agreement. When a conflict exists
between this Addendum and the Franchise Agreement, this Addendum shall control. Any
capitalized term not otherwise defined in this Addendum shall have the meaning as set
forth in the Franchise Agreement.        If any provision of this Addendum is found to be
unenforceable, the remaining provisions will continue to be in full force and effect. This
Addendum will be binding upon and inure to the benefit of the parties, their successors and
permitted assigns.     No waiver of any provision of this Addendum         will be enforceable
against a party unless it is in writing and signed by such party. No waiver by any party of
any provisions of this Addendum will be deemed to be or constitute a waiver of any other
provision hereof (whether or not similar), nor will such waiver constitute a continuing waiver
unless otherwise expressly provided.


                                 [Signature Pages Follow]




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      IN     WITNESS WHEREOF, the parties have executed this Addendum          as of the date
first written above.

                                         F RANG HI SOR:

                                         AP

                                         By:
                                         Nam
                                         Title: Presiden




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                                         FRANCHISEE:

                                        APPLE CENTRAL KC, LLC

                                         By:     American Franchise Capital III, LLC,
                                                 itss   I       b

                                                 By:
                                                 Name: William      J. Georgas


                                                 Name. revor Ganshaw
                                                 Title: Manager

PRINCIPAL SHAREHOLDERS:

AMERICAN FRANCHISE CAPITAL III,
LLC

By:
Name. Willi m J. Geo g
Title: Man~acr


Name: Trevor Ganshaw
Title: Manager


WJG CAPIT                                       GANSHAW INVESTMENTS III, LLC

By:                                             By:
Name. Willi m                                   Name: Trevor Ganshaw
Title: Member                                   Title: Member




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                SECOND ADDENDUM TO FRANCHISE AGREEMENT

       THIS SECOND ADDENDUM TO FRANCHISE AGREEMENT ("Addendum" ) is
made and entered into as of this 23"' day of July, 2015 (the "Effective Date" ), by and
between    Applebee's   Franchisor   LLC, a Delaware         limited  liability company
("Franchisor" ), Apple Central     KC, LLC, a Kansas          limited liability company
("Franchisee" ) and American Franchise Capital III, LLC, a Delaware limited liability
company, WJG Capital Investments III, LLC, a Delaware limited liability company,
Ganshaw Investments III, LLC, a Delaware limited liability company, William J. Georgas
and Trevor Ganshaw (collectively, the "Principal Shareholders" and, individually, a
"Principal Shareholder" ).

                                     WITNESSET H

        WHEREAS, contemporaneous with the execution of this Addendum, Franchisor,
Franchisee and the Principal Shareholders     have entered into an Applebee's
Neighborhood Grill & Bar Franchise Agreement for the operation of the Restaurant
located at 3404 Rainbow Boulevard, Kansas City, Kansas (including all amendments
thereto, the "Franchise Agreement" ); and

     WHEREAS, Franchisor, Franchisee and the Principal           Shareholders   desire to
amend the Franchise Agreement as hereinafter set forth.

        NOW, THEREFORE, in consideration of mutual covenants and other good and
valuable  consideration,  the receipt and legal sufficiency of which is hereby
acknowledged, the parties hereby agree as follows:

           1. Amendment.     The Franchise Agreement         is hereby    amended   and
supplemented    by this Addendum.     Any conflict between this Addendum        and the
Franchise Agreement shall be governed and controlled by the terms of this Addendum.
Capitalized terms used herein but not defined herein will be ascribed the meaning given
to such terms in the Franchise Agreement.

        2.     Lender Financial Information. Franchisee will deliver to Franchisor copies
of any compliance worksheets, certificates or any other financial information that is
required to be submitted to any person from whom Franchisee has borrowed money
(each, a "Lender" ), which information will be provided to Franchisor at the same time it
is delivered to a Lender. Franchisee hereby authorizes any Lender to provide such
information directly to Franchisor and Franchisor may contact any Lender for purposes
of requesting such information.      In addition, Franchisee will provide Franchisor the
quarterly financial packages provided to any Lender by Franchisee contemporaneously
with the delivery to any such Lender.

           3.  Local Market Testin . Upon Franchisor's request, Franchisee agrees to
participate, at its cost, in any menu, marketing, operations or similar test developed by
Franchisor. Notwithstanding      the foregoing, Franchisee shall not be required to incur
any cost to purchase, lease or otherwise acquire equipment required in connection with
such testing (other than equipment that is otherwise required to be purchased by
franchisees generally); provided, however, (a) Franchisor will have the right to remove
such equipment from the Restaurant at any time without any payment to Franchisee
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and (b) Franchisee will be responsible for keeping such equipment in good condition
(reasonable wear and tear excepted). Franchisee will share results of such testing
(including sales results, food and labor costs and other information) with Franchisor in a
format reasonably requested by Franchisor.

           4.   "Intentionally     Deleted. "

           5.   Entire A reement. This Addendum and the Franchise Agreement contain
the entire agreement between the parties with respect to the subject matter herein
contained,    and except as otherwise       provided herein,  no other agreements,
representations  or commitments made or discussed prior to the date hereof shall
survive the execution of the Franchise Agreement and this Addendum.

           6.   No Amendment.  Except as expressly set forth herein or in the documents
or instruments  herein referred to, no further amendment        or modification of this
Addendum shall be binding unless executed in writing by the parties hereto or their
authorized successors or assigns.

           7.   Counter    arts.
                               This Addendum may be signed in counterparts and each
counterpart with a hand-written signature, whether an original or an electronic data text
(including telegram, telex, facsimile, electronic data interchange and electronic mail) is
considered an original and all counterparts constitute one and the same instrument.

           8.  Choice of Law. This Addendum shall be binding upon and shall inure to
the benefit of the parties hereto, their successors and assigns and shall be construed in
accordance with and governed by the laws of the state of Kansas without regard to any
"choice of law" provision or rule thereof.

                                      [Signature Pages Follow]




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       IN   WITNESS WHEREOF, the parties have executed this Addendum                 as of the date
first written above.

                                             FRANCHISOR:

                                            APPLEBEE'S FRANCHISOR LLC

                                             By:
                                             Nam
                                            Title: President




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                                            FRANCHISEE:

                                            APPLE CENTRAL KC, LLC

                                            By:     American Franchise Capital III, LLC,
                                                    its sole me ber

                                                    B
                                                    N
                                                    T

                                                    B
                                                    N
                                                    Title: Manager

PRINCIPAL SHAREHOLDERS:

AMERICAN FRANCHISE CAPITAL III,
LLC

By:
Na
Titl

By:
Na
Titl



WJ                                                GA

By:                                               By:
Name: William   J. Georgas                        Nam . Trevor
Title: Member                                     Title: Member




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Name:                          AP 079003 FA - Apple Central KC LLC - Kansas City, KS 07-23-
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Business Unit:                 Applebee's
Restaurant Ids:                AP 079003
Document Class:                Franchise Agreement
Document Comments:             Restaurant acquired from DineEquity

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